Case: 25-1158      Document: 00118249234 Page: 1   Date Filed: 02/18/2025                              Entry ID: 6701022
                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                           CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                                     ABBREVIATED ELECTRONIC RECORD


      Case Caption:                     State of New Jersey et al v. Trump et al
                                        __________________________________________________________

      District Court Number:            25cv10139-LTS
                                        __________________________________________________________


      Fee:    Paid?                 X
                       Yes ____ No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


      Motions Pending                        X
                                Yes ____ No ____                  Sealed documents                      X
                                                                                           Yes ____ No ____
      If yes, document #        _______________                   If yes, document #       _______________

      Ex parte documents             X
                                Yes ____ No ____                  Transcripts                   X No ____
                                                                                           Yes ____
      If yes, document #        141
                                _______________                   If yes, document #       142
                                                                                           _______________



      Notice of Appeal filed by: Plaintiff/Petitioner ____                                     X
                                                             Defendant/Respondent ____ Other: ____

      Appeal from:
      #144 Memorandum of Decision, #145 Preliminary Injunction,#146 Electronic Order
      Other information:




              I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
      hereby certify that the annexed electronic documents:

      #144, #145, #146, and #150
      with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
      the Notice of Appeal # ________
                               150       filed on__________________.
                                                  February 14, 2025


                                                                                               February 14, 2025
              In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                                  ROBERT M. FARRELL
                                                                  Clerk of Court


                                                                  /s/Matthew A. Paine
                                                                  ____________________________
                                                                  Deputy Clerk




      COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


                                 PLEASE RETURN TO THE USDC CLERK’S OFFICE
Case: 25-1158       Document: 00118249234            Page: 2    Date Filed: 02/18/2025        Entry ID: 6701022



                                                                                                       APPEAL
                                    United States District Court
                                District of Massachusetts (Boston)
                         CIVIL DOCKET FOR CASE #: 1:25−cv−10139−LTS

        State of New Jersey et al v. Trump et al                       Date Filed: 01/21/2025
        Assigned to: District Judge Leo T. Sorokin                     Jury Demand: None
        related Case: 1:25−cv−10135−LTS                                Nature of Suit: 890 Other Statutory
        Cause: 28:1331 Fed. Question                                   Actions
                                                                       Jurisdiction: U.S. Government Defendant
        Plaintiff
        State of New Jersey                              represented by Shankar Duraiswamy
                                                                        33 Washington St.
                                                                        Newark, NJ 07102
                                                                        908−507−2949
                                                                        Email: shankar.duraiswamy@njoag.gov
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                       Elizabeth R. Walsh
                                                                       New Jersey Office of the Attorney General
                                                                       124 Halsey Street
                                                                       PO Box 45029
                                                                       Newark, NJ 07101
                                                                       609−696−5289
                                                                       Email: elizabeth.walsh@law.njoag.gov
                                                                       ATTORNEY TO BE NOTICED

                                                                       Gerard J. Cedrone
                                                                       Massachusetts Attorney General's Office
                                                                       One Ashburton Place
                                                                       20th Floor
                                                                       Boston, MA 02108
                                                                       617−963−2282
                                                                       Email: gerard.cedrone@mass.gov
                                                                       ATTORNEY TO BE NOTICED

                                                                       Jeremy Feigenbaum
                                                                       Office of the NJ Attorney General
                                                                       Richard J. Hughes Justice Complex
                                                                       25 Market Street
                                                                       Trenton, NJ 08625
                                                                       609−376−2690
                                                                       Email: jeremy.feigenbaum@njoag.gov
                                                                       ATTORNEY TO BE NOTICED

                                                                       Shefali Saxena
                                                                       New Jersey Attorney General
                                                                       124 Halsey Street


                                                                                                                   1
Case: 25-1158       Document: 00118249234   Page: 3    Date Filed: 02/18/2025        Entry ID: 6701022



                                                              PO Box 45029
                                                              Ste 5th Floor
                                                              Newark, NJ 07102
                                                              609−696−5254
                                                              Email: shefali.saxena@law.njoag.gov
                                                              ATTORNEY TO BE NOTICED

                                                              Viviana Maria Hanley
                                                              State of New Jersey
                                                              Office of the Attorney General
                                                              25 Market Street
                                                              PO Box 080
                                                              Trenton, NJ 08625
                                                              862−350−5800
                                                              Email: viviana.hanley@njoag.gov
                                                              ATTORNEY TO BE NOTICED

        Plaintiff
        Commonwealth of Massachusetts           represented by Gerard J. Cedrone
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              Jared B. Cohen
                                                              Massachusetts Attorney General's Office
                                                              McCormack Building
                                                              One Ashburton Place
                                                              Boston, MA 02108
                                                              617−963−2833
                                                              Fax: 617−573−5358
                                                              Email: jared.b.cohen@mass.gov
                                                              ATTORNEY TO BE NOTICED

        Plaintiff
        State of California                     represented by Annabelle Cathryn Wilmott
                                                               Office of The Attorney General
                                                               1300 I Street
                                                               Sacramento, CA 95814
                                                               916−210−7811
                                                               Email: annabelle.wilmott@doj.ca.gov
                                                               ATTORNEY TO BE NOTICED

                                                              Delbert Tran
                                                              Office of The Attorney General
                                                              455 Golden Gate Ave.
                                                              Ste 11000
                                                              San Francisco, CA 95111
                                                              415−229−0110
                                                              Email: delbert.tran@doj.ca.gov
                                                              ATTORNEY TO BE NOTICED



                                                                                                        2
Case: 25-1158       Document: 00118249234   Page: 4    Date Filed: 02/18/2025         Entry ID: 6701022



                                                              Denise Yesenia Levey
                                                              Office of The Attorney General of the
                                                              State of California
                                                              300 S Spring Street
                                                              Ste 1702
                                                              Los Angeles, CA 90013
                                                              213−269−6269
                                                              Email: denise.levey@doj.ca.gov
                                                              ATTORNEY TO BE NOTICED

                                                              Gerard J. Cedrone
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Irina Trasovan
                                                              Office of The Attorney General
                                                              300 S. Spring Street
                                                              Ste 1702
                                                              Los Angeles, CA 90013
                                                              213−269−6261
                                                              Email: irina.trasovan@doj.ca.gov
                                                              ATTORNEY TO BE NOTICED

                                                              Lorraine Lopez
                                                              Office of the Attorney General of the State
                                                              of California
                                                              300 S. Spring Street
                                                              Los Angeles, CA 90013
                                                              213−269−6616
                                                              Email: lorraine.lopez@doj.ca.gov
                                                              ATTORNEY TO BE NOTICED

                                                              Marissa Malouff
                                                              Office of the Attorney General of the State
                                                              of California
                                                              300 S. Spring Street
                                                              Ste 1702
                                                              Los Angeles, CA 90026
                                                              719−252−2589
                                                              Email: marissa.malouff@doj.ca.gov
                                                              ATTORNEY TO BE NOTICED

        Plaintiff
        State of Colorado                       represented by Shannon Wells Stevenson
                                                               Colorado Department of Law
                                                               1300 Broadway
                                                               Denver, CO 80203
                                                               720−508−6749
                                                               Email: shannon.stevenson@coag.gov
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                                                                            3
Case: 25-1158       Document: 00118249234   Page: 5     Date Filed: 02/18/2025         Entry ID: 6701022




                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of Connecticut                    represented by William M. Tong
                                                               Office of the Attorney General
                                                               165 Capitol Avenue
                                                               Suite 5000
                                                               Hartford, CT 06106
                                                               860−808−5318
                                                               Email: ag.court.tong@ct.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Janelle Medeiros
                                                               Office of the Attorney General
                                                               165 Capitol Avenue
                                                               Hartford, CT 06106
                                                               860−808−5444
                                                               Fax: 860−808−5591
                                                               Email: janelle.medeiros@ct.gov
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of Delaware                       represented by Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        District of Columbia                    represented by Nicole Suzanne Hill
                                                               Office of the Attorney General for the
                                                               District of Columbia
                                                               400 6th Street, N.W.
                                                               Washington, DC 20001
                                                               202−727−4171
                                                               Email: nicole.hill@dc.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff


                                                                                                        4
Case: 25-1158       Document: 00118249234   Page: 6     Date Filed: 02/18/2025         Entry ID: 6701022



        State of Hawaii                         represented by Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Kalikoonalani Diara Fernandes
                                                               Department of the Attorney General, State
                                                               of Hawaii
                                                               425 Queen Street
                                                               Honolulu, HI 96813
                                                               808−586−1360
                                                               Email: kaliko.d.fernandes@hawaii.gov
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of Maine                          represented by Sean D. Magenis
                                                               Office of the Maine Attorney General
                                                               6 State House Station
                                                               Augusta, ME 04330
                                                               207−626−8830
                                                               Email: sean.d.magenis@maine.gov
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of Maryland                       represented by Adam Kirschner
                                                               Office of the Attorney General− State of
                                                               Maryland
                                                               200 Saint Paul Place
                                                               Baltimore, MD 21202
                                                               410−576−6424
                                                               Email: akirschner@oag.state.md.us
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        Dana Nessel                             represented by Neil Giovanatti
        Attorney General                                       MI Department of Attorney General
                                                               525 W. Ottawa Street
                                                               P.O. Box 30758
                                                               Lansing, MI 48909
                                                               517−335−7603
                                                               Email: giovanattin@michigan.gov
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Stephanie M. Service
                                                               Michigan Department of Attorney General

                                                                                                           5
Case: 25-1158       Document: 00118249234   Page: 7    Date Filed: 02/18/2025         Entry ID: 6701022



                                                               PO Box 30758
                                                               525 W. Ottawa St., 3rd Flr.
                                                               Lansing, MI 48909
                                                               517−335−7603
                                                               Fax: 517−335−1152
                                                               Email: services3@michigan.gov
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Toni L. Harris
                                                               Michigan Department of Attorney General
                                                               525 W. Ottawa Street
                                                               P.O. Box 30758
                                                               Lansing, MI 48909
                                                               517−335−7603
                                                               Fax: 517−335−1152
                                                               Email: harrist19@michigan.gov
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of Minnesota                      represented by Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               John C. Keller
                                                               Office of the Minnesota Attorney General
                                                               75 Rev. Dr. Martin Luther King Jr. Blvd.
                                                               Suite 102
                                                               St. Paul, MN 55155
                                                               651−757−1355
                                                               Email: john.keller@ag.state.mn.us
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of Nevada                         represented by Heidi Parry Stern
                                                               Nevada Attorney General's Office
                                                               1 State of Nevada Way
                                                               Ste 100
                                                               Las Vegas, NV 89119
                                                               702−486−3594
                                                               Email: hstern@ag.nv.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED



                                                                                                          6
Case: 25-1158       Document: 00118249234   Page: 8     Date Filed: 02/18/2025        Entry ID: 6701022



                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of New Mexico                     represented by James Grayson
                                                               NM Department of Justice
                                                               P.O. Drawer 1508
                                                               Santa Fe, NM 87504−1508
                                                               505−218−0850
                                                               Email: jgrayson@nmag.gov
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of New York                       represented by Stacey M. Metro
                                                               NYS Office of The Attorney General
                                                               Civil Recoveries Bureau
                                                               The Capitol
                                                               Albany, NY 12224
                                                               518−776−2218
                                                               Fax: 518−915−7729
                                                               Email: stacey.metro@ag.ny.gov
                                                               ATTORNEY TO BE NOTICED

                                                               Zoe Levine
                                                               NYS Office of The Attorney General
                                                               28 Liberty Street
                                                               New York, NY 10005
                                                               212−416−8329
                                                               Email: zoe.levine@ag.ny.gov
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of North Carolina                 represented by Daniel Paul Mosteller
                                                               North Carolina Department of Justice
                                                               PO Box 629
                                                               Raleigh, NC 27602
                                                               919−716−6026
                                                               Email: dmosteller@ncdoj.gov
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                                                                      7
Case: 25-1158       Document: 00118249234   Page: 9     Date Filed: 02/18/2025        Entry ID: 6701022



        Plaintiff
        State of Rhode Island                   represented by Katherine Connolly Sadeck
                                                               RI Department of Attorney General
                                                               150 South Main Street
                                                               Providence, RI 02903
                                                               401−274−4400
                                                               Email: ksadeck@riag.ri.gov
                                                               ATTORNEY TO BE NOTICED

                                                               Leonard Giarrano , IV
                                                               RI Department of Attorney General
                                                               150 South Main Street
                                                               Providence, RI 02903
                                                               401−274−4400
                                                               Email: lgiarrano@riag.ri.gov
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of Vermont                        represented by Julio A Thompson
                                                               Office of the Vermont Attorney General
                                                               109 State Street
                                                               Montpelier, VT 05609−1001
                                                               802−828−5516
                                                               Email: julio.thompson@vermont.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        State of Wisconsin                      represented by Gabe Johnson−Karp
                                                               Wisconsin Department of Justice
                                                               17 West Main Street
                                                               PO Box 7857
                                                               Madison, WI 53707−7857
                                                               608−267−8904
                                                               Email: johnsonkarpg@doj.state.wi.us
                                                               ATTORNEY TO BE NOTICED

                                                               Gerard J. Cedrone
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Plaintiff
        City and County of San Francisco        represented by David Scott Louk
                                                               San Francisco City Attorney's Office
                                                               1390 Market St.

                                                                                                        8
Case: 25-1158   Document: 00118249234   Page: 10   Date Filed: 02/18/2025       Entry ID: 6701022



                                                        Fox Plaza, 7th Floor
                                                        San Francisco, CA 94102
                                                        415−355−3314
                                                        Fax: 415−437−4644
                                                        Email: david.louk@sfcityatty.org
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        David S. Chiu
                                                        San Francisco City Attorney's Office
                                                        City Hall
                                                        1 Dr. Carlton B. Goodlett Place
                                                        Room 234
                                                        San Francisco, CA 94102
                                                        415−554−4700
                                                        Email: luis.a.zamora@sfcityatty.org
                                                        ATTORNEY TO BE NOTICED

                                                        Gerard J. Cedrone
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Mollie Mindes Lee
                                                        San Francisco City Attorney's Office
                                                        1390 Market Street
                                                        Ste 7th Floor
                                                        San Francisco, CA 94102
                                                        415−554−4260
                                                        Fax: 415−437−4644
                                                        Email: mollie.lee@sfcityatty.org
                                                        ATTORNEY TO BE NOTICED

                                                        Molly J. Alarcon
                                                        San Francisco City Attorney's Office
                                                        1390 Market Street
                                                        Ste 7th Floor
                                                        San Francisco, CA 94102
                                                        415−554−3894
                                                        Fax: 415−437−4644
                                                        Email: molly.alarcon@sfcityatty.org
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Yvonne Mere
                                                        San Francisco City Attorney's Office
                                                        City Hall
                                                        1 Dr Carlton B Goodlett Place
                                                        Room 234
                                                        San Francisco, CA 94102
                                                        415−554−4708
                                                        Fax: 415−554−4715


                                                                                               9
Case: 25-1158     Document: 00118249234                Page: 11    Date Filed: 02/18/2025         Entry ID: 6701022



                                                                         Email: yvonne.mere@sfcityatty.org
                                                                         ATTORNEY TO BE NOTICED


        V.
        Defendant
        Donald J. Trump                                    represented by Brad P. Rosenberg
        in his official capacity as President of the                      1100 L Street, NW
        United States                                                     Washington, DC 20005
                                                                          202−514−3374
                                                                          Email: brad.rosenberg@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                         Eric Hamilton
                                                                         U.S. Department of Justice
                                                                         950 Pennsylvania Avenue NW
                                                                         Washington, DC 20530
                                                                         202−514−3301
                                                                         Email: eric.hamilton@usdoj.gov
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Robert Charles Merritt
                                                                         DOJ−Civ
                                                                         1100 L St. NW
                                                                         Washington, DC 20005
                                                                         202−616−8098
                                                                         Email: robert.c.merritt@usdoj.gov
                                                                         ATTORNEY TO BE NOTICED

                                                                         Yuri Fuchs
                                                                         DOJ−Civ
                                                                         1100 L St NW
                                                                         Washington, DC 20005
                                                                         202−598−3869
                                                                         Email: yuri.s.fuchs@usdoj.gov
                                                                         ATTORNEY TO BE NOTICED

        Defendant
        U.S. Department of State                           represented by Brad P. Rosenberg
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                         Eric Hamilton
                                                                         (See above for address)
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Robert Charles Merritt

                                                                                                               10
Case: 25-1158     Document: 00118249234            Page: 12   Date Filed: 02/18/2025    Entry ID: 6701022



                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                   Yuri Fuchs
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

        Defendant
        Marco Rubio                                    represented by Brad P. Rosenberg
        in his official capacity as Secretary of                      (See above for address)
        State                                                         LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                   Eric Hamilton
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   Robert Charles Merritt
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                   Yuri Fuchs
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

        Defendant
        U.S. Department of Homeland Security           represented by Brad P. Rosenberg
                                                                      (See above for address)
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                   Eric Hamilton
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   Robert Charles Merritt
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                   Yuri Fuchs
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

        Defendant
        Benjamine Huffman                              represented by Brad P. Rosenberg
        in his official capacity as Acting                            (See above for address)
        Secretary of Homeland Security                                LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED


                                                                                                     11
Case: 25-1158    Document: 00118249234           Page: 13   Date Filed: 02/18/2025    Entry ID: 6701022



                                                                 Eric Hamilton
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Robert Charles Merritt
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                 Yuri Fuchs
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

        Defendant
        U.S. Department of Health and Human          represented by Brad P. Rosenberg
        Services                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                 Eric Hamilton
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Robert Charles Merritt
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                 Yuri Fuchs
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

        Defendant
        Dorothy Fink                                 represented by Brad P. Rosenberg
        in her official capacity as Acting                          (See above for address)
        Secretary of Health and Human Services                      LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                 Eric Hamilton
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Robert Charles Merritt
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                 Yuri Fuchs
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED



                                                                                                   12
Case: 25-1158     Document: 00118249234       Page: 14   Date Filed: 02/18/2025         Entry ID: 6701022



        Defendant
        U.S. Social Security Administration       represented by Brad P. Rosenberg
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              Eric Hamilton
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Robert Charles Merritt
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Yuri Fuchs
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

        Defendant
        Michelle King                             represented by Brad P. Rosenberg
        in her official capacity as Acting                       (See above for address)
        Commissioner of Social Security                          LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              Eric Hamilton
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Robert Charles Merritt
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Yuri Fuchs
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

        Defendant
        United States of America                  represented by Brad P. Rosenberg
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              Eric Hamilton
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Robert Charles Merritt
                                                              (See above for address)

                                                                                                     13
Case: 25-1158    Document: 00118249234   Page: 15    Date Filed: 02/18/2025         Entry ID: 6701022



                                                            ATTORNEY TO BE NOTICED

                                                            Yuri Fuchs
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

        Amicus
        Local Governments and Local          represented by Jonathan Benjamin Miller
        Government Officials                                Public Rights Project
                                                            490 43rd Street, #115
                                                            Oakland, CA 94609
                                                            646−831−6113
                                                            Email: jon@publicrightsproject.org
                                                            ATTORNEY TO BE NOTICED

        Amicus
        State of Tennessee                   represented by Andrew C. Coulam
                                                            Tennessee Attorney General's Office
                                                            P.O. Box 20207
                                                            Nashville, TN 27202−0207
                                                            615−741−1868
                                                            Email: andrew.coulam@ag.tn.gov
                                                            ATTORNEY TO BE NOTICED

                                                            James Matthew Rice
                                                            Tennessee Attorney General's Office
                                                            P.O. Box 20207
                                                            Nashville, TN 37202−0207
                                                            615−532−6026
                                                            Email: matt.rice@ag.tn.gov
                                                            ATTORNEY TO BE NOTICED

                                                            Whitney D. Hermandorfer
                                                            Tennessee Attorney General's Office
                                                            P.O. Box 20207
                                                            Nashville, TN 37202
                                                            615−741−7403
                                                            Email: whitney.hermandorfer@ag.tn.gov
                                                            ATTORNEY TO BE NOTICED

        Amicus
        Members of Congress                  represented by George W. Vien
                                                            Donnelly, Conroy & Gelhaar, LLP
                                                            260 Franklin Street
                                                            Boston, MA 02110
                                                            617−720−2880
                                                            Fax: 617−720−3554
                                                            Email: gwv@dcglaw.com
                                                            ATTORNEY TO BE NOTICED

                                                            Pietro A. Conte

                                                                                                    14
Case: 25-1158    Document: 00118249234          Page: 16    Date Filed: 02/18/2025        Entry ID: 6701022



                                                                  Donnelly Conroy & Gelhaar
                                                                  260 Franklin Street
                                                                  Suite 1600
                                                                  Boston, MA 02110
                                                                  617−720−2880
                                                                  Email: pac@dcglaw.com
                                                                  ATTORNEY TO BE NOTICED

                                                                  R. Trent McCotter
                                                                  Boyden Gray PLLC
                                                                  800 Connecticut Ave. NW
                                                                  Suite 900
                                                                  Washington, DC 20006
                                                                  202−706−5488
                                                                  Email: tmccotter@boydengray.com
                                                                  ATTORNEY TO BE NOTICED

        Amicus
        Immigration Reform Law Institute            represented by Matthew James O'Brien
                                                                   Immigration Reform Law Institute
                                                                   25 Massachusetts Avenue NW
                                                                   Suite 335
                                                                   Washington, DC 20001
                                                                   571−236−8146
                                                                   Email: mobrien@irli.org
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                  Christopher J. Hajec
                                                                  Immigration Reform Law Institute
                                                                  25 Massachusetts Avenue NW, Suite 335
                                                                  Washington, DC 20001
                                                                  202−232−5590
                                                                  Email: chajec@irli.org
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

        Amicus
        The State of Iowa and 17 other States       represented by Nathaniel M. Lindzen
                                                                   Law Office of Nathaniel Lindzen/SWI
                                                                   57 School Street
                                                                   Wayland, MA 01778
                                                                   212−810−7627
                                                                   Email: nlindzen@corpfraudlaw.com
                                                                   ATTORNEY TO BE NOTICED

        Amicus
        Edwin L Meese, III                          represented by Frank L. McNamara , Jr.
                                                                   McNamara & Associates
                                                                   53 Wilder Road
                                                                   Bolton, MA 01740

                                                                                                          15
Case: 25-1158    Document: 00118249234              Page: 17      Date Filed: 02/18/2025         Entry ID: 6701022



                                                                         978−333−9608
                                                                         Email: franklmcnamara@gmail.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Ryan P. McLane
                                                                         McLane & McLane, LLC
                                                                         269 South Westfield Street
                                                                         Feeding Hills, MA 01030
                                                                         413−789−7771
                                                                         Email: ryan@mclanelaw.com
                                                                         ATTORNEY TO BE NOTICED

        Interested Party
        Rubin Young                                       represented by Rubin Young
                                                                         14060 SW 258th St.
                                                                         Homestead, FL 33032
                                                                         PRO SE

        Interested Party
        Mark Marvin                                       represented by Mark Marvin
                                                                         135 Mills Road
                                                                         Walden, NY 12586
                                                                         PRO SE

        Interested Party
        Melvin Jones, Jr.


        V.
        Intervenor
        Leonard W. Houston                                represented by Leonard W. Houston
        TERMINATED: 02/04/2025                                           148 Deer Court Drive, Bldg. 4
                                                                         Middletown, NY 10940
                                                                         845−343−8923
                                                                         Email: lenny.houston@yahoo.com
                                                                         PRO SE
        Email All Attorneys
        Email All Attorneys and Additional Recipients

         Date Filed        #    Docket Text
         01/21/2025         1   COMPLAINT for Declaratory and Injunctive Relief against All Defendants Filing
                                fee: $ 405, receipt number AMADC−10796809 (Fee Status: Filing Fee paid), filed by
                                Commonwealth of Massachusetts. (Attachments: # 1 Exhibit A (Executive Order), #
                                2 Civil Cover Sheet, # 3 Category Form)(Cedrone, Gerard) (Entered: 01/21/2025)
         01/21/2025         2   NOTICE of Appearance by Gerard J. Cedrone on behalf of Commonwealth of
                                Massachusetts (Cedrone, Gerard) (Entered: 01/21/2025)


                                                                                                                    16
Case: 25-1158   Document: 00118249234            Page: 18        Date Filed: 02/18/2025           Entry ID: 6701022



         01/21/2025    3   MOTION for Preliminary Injunction and for Expedited Briefing by Commonwealth
                           of Massachusetts. (Attachments: # 1 Text of Proposed Order)(Cedrone, Gerard)
                           (Entered: 01/21/2025)
         01/21/2025    4   NOTICE of Appearance by Jared B. Cohen on behalf of Commonwealth of
                           Massachusetts (Cohen, Jared) (Entered: 01/21/2025)
         01/21/2025    5   MEMORANDUM in Support re 3 MOTION for Preliminary Injunction and for
                           Expedited Briefing filed by Commonwealth of Massachusetts. (Attachments: # 1
                           Table of Exhibits, # 2 Exhibit A (Adelman Decl.), # 3 Exhibit B (Ehling Decl.), # 4
                           Exhibit C (Baston Decl.), # 5 Exhibit D (Jamet Decl.), # 6 Exhibit E (Boyle Decl.), #
                           7 Exhibit F (Lapkoff Decl.), # 8 Exhibit G (Rice Decl.), # 9 Exhibit H (Sesti Decl.), #
                           10 Exhibit I (Duncan Decl.), # 11 Exhibit J (Groen Decl.), # 12 Exhibit K
                           (Harrington Decl.), # 13 Exhibit L (Heenan Decl.), # 14 Exhibit M (Nguyen Decl.), #
                           15 Exhibit N (Villamil−Cummings Decl.), # 16 Exhibit O (Armenia Decl.), # 17
                           Exhibit P (Fanning Decl.), # 18 Exhibit Q (Avenia Decl.), # 19 Exhibit R (Hadler
                           Decl.), # 20 Exhibit S (Gauthier Decl.), # 21 Exhibit T (Wong Decl.), # 22 Exhibit U
                           (State Dept. Foreign Affairs Manual), # 23 Exhibit V (Weisberg Decl.), # 24 Exhibit
                           W (Executive Order), # 25 Exhibit X (Webster's Dictionary), # 26 Exhibit Y
                           (Blackstone's Commentaries), # 27 Exhibit Z (Congressional Globe))(Cedrone,
                           Gerard) (Entered: 01/21/2025)
         01/21/2025    6   ELECTRONIC NOTICE of Case Assignment. District Judge Leo T. Sorokin
                           assigned to case. If the trial Judge issues an Order of Reference of any matter in this
                           case to a Magistrate Judge, the matter will be transmitted to Magistrate Judge M.
                           Page Kelley. (NMC) (Entered: 01/21/2025)
         01/21/2025    7   MOTION for Leave to Appear Pro Hac Vice for admission of Jeremy M.
                           Feigenbaum, Shankar Duraiswamy, Viviana M. Hanley, Shefali Saxena, and
                           Elizabeth R. Walsh Filing fee: $ 625, receipt number AMADC−10797167 by State of
                           New Jersey. (Attachments: # 1 Jeremy M. Feigenbaum Certification, # 2 Shankar
                           Duraiswamy Certification, # 3 Viviana M. Hanley Certification, # 4 Shefali Saxena
                           Certification, # 5 Elizabeth R. Walsh Certification)(Cedrone, Gerard) Modified on
                           1/23/2025: Updated docket text. (Entered: 01/21/2025)
         01/21/2025    8   MOTION for Leave to Appear Pro Hac Vice for admission of Denise Levey, Delbert
                           Tran, Irina Trasovan, Marissa Malouff, Lorraine Lopez, and Annabelle Wilmott by
                           State of California. (Attachments: # 1 Denise Levey Certification, # 2 Delbert Tran
                           Certification, # 3 Irina Trasovan Certification, # 4 Marissa Malouff Certification, # 5
                           Lorraine Lopez Certification, # 6 Annabelle Wilmott Certification)(Cedrone, Gerard)
                           Modified on 1/23/2025: Updated docket text. (SED). (Entered: 01/21/2025)
         01/21/2025    9   NOTICE of Appearance by Katherine Connolly Sadeck on behalf of State of Rhode
                           Island (Sadeck, Katherine) (Entered: 01/21/2025)
         01/21/2025   10   MOTION for Leave to Appear Pro Hac Vice for admission of Shannon Stevenson by
                           State of Colorado. (Attachments: # 1 Shannon Stevenson Certification)(Cedrone,
                           Gerard) Modified on 1/23/2025: Updated docket text. (SED). (Entered: 01/21/2025)
         01/21/2025   11   MOTION for Leave to Appear Pro Hac Vice for admission of William M. Tong and
                           Janelle Rose Medeiros by State of Connecticut. (Attachments: # 1 William M. Tong
                           Certification, # 2 Janelle Rose Medeiros Certification)(Cedrone, Gerard) Modified on
                           1/23/2025: Updated docket text. (SED). (Entered: 01/21/2025)
         01/21/2025   12


                                                                                                                     17
Case: 25-1158   Document: 00118249234           Page: 19       Date Filed: 02/18/2025          Entry ID: 6701022



                           NOTICE of Appearance by Sean D. Magenis on behalf of State of Maine (Magenis,
                           Sean) (Entered: 01/21/2025)
         01/21/2025   13   MOTION for Leave to Appear Pro Hac Vice for admission of Daniel P. Mosteller
                           Filing fee: $ 125, receipt number AMADC−10797996 by State of North Carolina.
                           (Attachments: # 1 Certification of Daniel P. Mosteller)(Cedrone, Gerard) (Entered:
                           01/21/2025)
         01/21/2025   14   NOTICE OF ATTORNEY PAYMENT OF FEES as to 11 MOTION for Leave to
                           Appear Pro Hac Vice for admission of William M. Tong and Janelle Rose Medeiros
                           by Plaintiff State of Connecticut. Filing fee $ 250, receipt number
                           AMADC−10798064. Payment Type : PRO HAC VICE. (Cedrone, Gerard) (Entered:
                           01/21/2025)
         01/21/2025   15   MOTION for Leave to Appear Pro Hac Vice for admission of Julio A. Thompson
                           Filing fee: $ 125, receipt number AMADC−10798127 by State of Vermont.
                           (Attachments: # 1 Julio A. Thompson Certification)(Cedrone, Gerard) (Entered:
                           01/21/2025)
         01/21/2025   16   MOTION for Leave to Appear Pro Hac Vice for admission of Gabe Johnson−Karp
                           Filing fee: $ 125, receipt number AMADC−10798178 by State of Wisconsin.
                           (Attachments: # 1 Gabe Johnson−Karp Certification)(Cedrone, Gerard) (Entered:
                           01/21/2025)
         01/21/2025   17   MOTION for Leave to Appear Pro Hac Vice for admission of John C. Keller Filing
                           fee: $ 125, receipt number AMADC−10798221 by State of Minnesota. (Attachments:
                           # 1 John C. Keller Certification)(Cedrone, Gerard) (Entered: 01/21/2025)
         01/21/2025   18   NOTICE OF ATTORNEY PAYMENT OF FEES as to 10 MOTION for Leave to
                           Appear Pro Hac Vice for admission of Shannon Stevenson by Plaintiff State of
                           Colorado. Filing fee $ 125, receipt number AMADC−10798258. Payment Type :
                           PRO HAC VICE. (Cedrone, Gerard) (Entered: 01/21/2025)
         01/21/2025   19   MOTION for Leave to Appear Pro Hac Vice for admission of David S. Louk and
                           Molly J. Alarcon Filing fee: $ 250, receipt number AMADC−10798271 by City and
                           County of San Francisco. (Attachments: # 1 David S. Louk Certification, # 2 Molly J.
                           Alarcon Certification)(Cedrone, Gerard) (Entered: 01/21/2025)
         01/21/2025   20   Summons Issued as to Dorothy Fink, Benjamine Huffman, Michelle King, Marco
                           Rubio, Donald J. Trump, U.S. Department of Health and Human Services, U.S.
                           Department of Homeland Security, U.S. Department of State, U.S. Social Security
                           Administration, United States of America. Counsel receiving this notice
                           electronically should download this summons, complete one for each defendant
                           and serve it in accordance with Fed.R.Civ.P. 4 and LR 4.1. Summons will be
                           mailed to plaintiff(s) not receiving notice electronically for completion of service.
                           (LBO) (Entered: 01/21/2025)
         01/21/2025   21   MOTION for Leave to Appear Pro Hac Vice for admission of Neil Giovanatti, Toni
                           L. Harris, and Stephanie M. Service Filing fee: $ 375, receipt number
                           AMADC−10798386 by Dana Nessel. (Attachments: # 1 Neil Giovanatti
                           Certification, # 2 Toni L. Harris Certification, # 3 Stephanie M. Service
                           Certification)(Cedrone, Gerard) (Entered: 01/21/2025)
         01/21/2025   22   MOTION for Leave to Appear Pro Hac Vice for admission of Vanessa L. Kassab
                           Filing fee: $ 125, receipt number AMADC−10798387 by State of Delaware.


                                                                                                                   18
Case: 25-1158   Document: 00118249234          Page: 20        Date Filed: 02/18/2025         Entry ID: 6701022



                           (Attachments: # 1 Vanessa L. Kassab Certification)(Cedrone, Gerard) (Entered:
                           01/21/2025)
         01/22/2025   23   MOTION for Leave to Appear Pro Hac Vice for admission of Zoe Levine Filing fee:
                           $ 125, receipt number AMADC−10798893 by State of New York.(Metro, Stacey)
                           (Main Document 23 replaced on 1/23/2025, detached from supporting document)
                           (FGD). (Additional attachment(s) added on 1/23/2025: # 1 Certificate of Zoe Levine)
                           (FGD). (Entered: 01/22/2025)
         01/22/2025   24   MOTION for Leave to Appear Pro Hac Vice for admission of Nicole S. Hill Filing
                           fee: $ 125, receipt number AMADC−10799082 by District of Columbia.
                           (Attachments: # 1 Nicole S. Hill Certification)(Cedrone, Gerard) (Entered:
                           01/22/2025)
         01/22/2025   25   MOTION for Leave to Appear Pro Hac Vice for admission of James W. Grayson
                           Filing fee: $ 125, receipt number AMADC−10799163 by State of New Mexico.
                           (Attachments: # 1 James W. Grayson Certification)(Cedrone, Gerard) (Entered:
                           01/22/2025)
         01/22/2025   26   District Judge Leo T. Sorokin: ORDER entered:

                           Plaintiffs shall show cause by Friday, January 24, 2025 at 4 PM why this case should
                           not be returned to the Clerk for random assignment. Joint status report regarding
                           briefing schedule due Friday January 24, 2025 at 4 PM. (FGD) (Entered: 01/22/2025)
         01/22/2025   27   NOTICE OF ATTORNEY PAYMENT OF FEES as to 8 MOTION for Leave to
                           Appear Pro Hac Vice for admission of Denise Levey, Delbert Tran, Irina Trasovan,
                           Marissa Malouff, Lorraine Lopez, and Annabelle Wilmott by Plaintiff State of
                           California. Filing fee $ 750, receipt number AMADC−10799509. Payment Type :
                           PRO HAC VICE. (Cedrone, Gerard) (Entered: 01/22/2025)
         01/22/2025   28   MOTION for Leave to Appear Pro Hac Vice for admission of Kaliko'onalani D.
                           Fernandes Filing fee: $ 125, receipt number AMADC−10799624 by State of Hawaii.
                           (Attachments: # 1 Kaliko'onalani D. Fernandes Certification)(Cedrone, Gerard)
                           (Entered: 01/22/2025)
         01/23/2025   29   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 24 Motion
                           for Leave to Appear Pro Hac Vice Added Nicole S. Hill.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (SED) (Entered: 01/23/2025)
         01/23/2025   30

                                                                                                                  19
Case: 25-1158   Document: 00118249234          Page: 21       Date Filed: 02/18/2025         Entry ID: 6701022



                           District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 13 Motion
                           for Leave to Appear Pro Hac Vice Added Daniel P. Mosteller.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   31   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 15 Motion
                           for Leave to Appear Pro Hac Vice Added Julio A. Thompson.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   32   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 16 Motion
                           for Leave to Appear Pro Hac Vice Added Gabe Johnson−Karp.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.



                                                                                                                20
Case: 25-1158   Document: 00118249234          Page: 22       Date Filed: 02/18/2025         Entry ID: 6701022



                           (FGD) (Entered: 01/23/2025)
         01/23/2025   33   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 17 Motion
                           for Leave to Appear Pro Hac Vice Added John C. Keller.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   34   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 25 Motion
                           for Leave to Appear Pro Hac Vice Added James W. Grayson.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (SED) (Entered: 01/23/2025)
         01/23/2025   35   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 28 Motion
                           for Leave to Appear Pro Hac Vice Added Kaliko'onalani D. Fernandes.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                                                                                                                21
Case: 25-1158   Document: 00118249234          Page: 23       Date Filed: 02/18/2025         Entry ID: 6701022



                           (SED) (Entered: 01/23/2025)
         01/23/2025   36   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 19 Motion
                           for Leave to Appear Pro Hac Vice Added Molly J. Alarcon, David S. Louk.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   37   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 21 Motion
                           for Leave to Appear Pro Hac Vice Added Neil Giovanatti, Toni L. Harris, Stephanie
                           M. Service.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   38   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 22 Motion
                           for Leave to Appear Pro Hac Vice Added Vanessa L. Kassab.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.




                                                                                                                22
Case: 25-1158   Document: 00118249234           Page: 24       Date Filed: 02/18/2025          Entry ID: 6701022



                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   39   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 23 Motion
                           for Leave to Appear Pro Hac Vice Added Zoe Levine.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   40   SUMMONS Returned Executed as to US Attorney by Dana Nessel, District of
                           Columbia, Commonwealth of Massachusetts, State of Rhode Island, State of New
                           Jersey, State of Vermont, State of Nevada, State of North Carolina, State of
                           Delaware, State of California, State of Maine, State of Minnesota, State of New
                           Mexico, State of New York, City and County of San Francisco, State of Hawaii, State
                           of Colorado, State of Maryland, State of Wisconsin, State of Connecticut. All
                           Defendants. (Attachments: # 1 Affidavit of In−Person Service on the United States
                           Attorney's Office, # 2 Affidavit of Certified Mail Service on Defendants)(Cedrone,
                           Gerard) (Entered: 01/23/2025)
         01/23/2025   41   NOTICE of Appearance by Gerard J. Cedrone on behalf of State of New Jersey, State
                           of California, State of Colorado, State of Connecticut (Cedrone, Gerard) (Entered:
                           01/23/2025)
         01/23/2025   42   MOTION for Leave to Appear Pro Hac Vice for admission of Leonard Giarrano IV
                           by State of Rhode Island. (Attachments: # 1 Certificate)(Sadeck, Katherine) (Entered:
                           01/23/2025)
         01/23/2025   43   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 42 Motion
                           for Leave to Appear Pro Hac Vice Added Leonard Giarrano IV.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.


                                                                                                                   23
Case: 25-1158   Document: 00118249234          Page: 25       Date Filed: 02/18/2025         Entry ID: 6701022



                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (SED) (Entered: 01/23/2025)
         01/23/2025   44   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 7 Motion
                           for Leave to Appear Pro Hac Vice Added Jeremy M. Feigenbaum, Shankar
                           Duraiswamy, Viviana M. Hanley, Shefali Saxena, and Elizabeth R. Walsh.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   45   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 8 Motion
                           for Leave to Appear Pro Hac Vice Added Denise Levey, Delbert Tran, Irina
                           Trasovan, Marissa Malouff, Lorraine Lopez, and Annabelle Wilmott.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   46   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 10 Motion
                           for Leave to Appear Pro Hac Vice Added Shannon Stevenson.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.



                                                                                                                24
Case: 25-1158   Document: 00118249234          Page: 26       Date Filed: 02/18/2025         Entry ID: 6701022



                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   47   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 11 Motion
                           for Leave to Appear Pro Hac Vice Added William M. Tong and Janelle Rose
                           Medeiros.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/23/2025)
         01/23/2025   48   NOTICE OF ATTORNEY PAYMENT OF FEES as to 42 MOTION for Leave to
                           Appear Pro Hac Vice for admission of Leonard Giarrano IV by Plaintiff State of
                           Rhode Island. Filing fee $ 125, receipt number AMADC−10802830. Payment Type :
                           PRO HAC VICE. (Sadeck, Katherine) Modified on 1/24/2025: Updated docket text
                           to reflect the motion in which the fee applied to. (FGD) (Entered: 01/23/2025)
         01/24/2025   49   NOTICE of Appearance by Daniel Paul Mosteller on behalf of State of North
                           Carolina (Mosteller, Daniel) (Entered: 01/24/2025)
         01/24/2025   50   NOTICE of Appearance by Shannon Wells Stevenson on behalf of State of Colorado
                           (Stevenson, Shannon) (Entered: 01/24/2025)
         01/24/2025   51   NOTICE of Appearance by Toni L. Harris on behalf of Dana Nessel (Harris, Toni)
                           (Entered: 01/24/2025)
         01/24/2025   52   NOTICE of Appearance by Leonard Giarrano, IV on behalf of State of Rhode Island
                           (Giarrano, Leonard) (Entered: 01/24/2025)
         01/24/2025   53   NOTICE of Appearance by Neil Giovanatti on behalf of Dana Nessel (Giovanatti,
                           Neil) (Entered: 01/24/2025)
         01/24/2025   54   NOTICE of Appearance by Stephanie M. Service on behalf of Dana Nessel (Service,
                           Stephanie) (Entered: 01/24/2025)
         01/24/2025   55   NOTICE of Appearance by David Scott Louk on behalf of City and County of San
                           Francisco (Louk, David) (Entered: 01/24/2025)
         01/24/2025   56


                                                                                                                25
Case: 25-1158   Document: 00118249234           Page: 27       Date Filed: 02/18/2025          Entry ID: 6701022



                           NOTICE of Appearance by Molly J. Alarcon on behalf of City and County of San
                           Francisco (Alarcon, Molly) (Entered: 01/24/2025)
         01/24/2025   57   NOTICE of Appearance by James Grayson on behalf of State of New Mexico
                           (Grayson, James) (Entered: 01/24/2025)
         01/24/2025   58   NOTICE of Appearance by Brad P. Rosenberg on behalf of Donald J. Trump, U.S.
                           Department of State, Marco Rubio, U.S. Department of Homeland Security,
                           Benjamine Huffman, U.S. Department of Health and Human Services, Dorothy Fink,
                           U.S. Social Security Administration, Michelle King, United States of America
                           (Rosenberg, Brad) (Entered: 01/24/2025)
         01/24/2025   59   RESPONSE TO ORDER TO SHOW CAUSE by State of Maryland, Dana Nessel,
                           State of Minnesota, State of Nevada, State of New Mexico, State of New York, State
                           of North Carolina, State of Rhode Island, State of Vermont, State of Wisconsin, State
                           of New Jersey, City and County of San Francisco, Commonwealth of Massachusetts,
                           State of California, State of Colorado, State of Connecticut, State of Delaware,
                           District of Columbia, State of Hawaii, State of Maine. (Cedrone, Gerard) (Entered:
                           01/24/2025)
         01/24/2025   60   STATUS REPORT by State of Maryland, Dana Nessel, State of Minnesota, State of
                           Nevada, State of New Mexico, State of New York, State of North Carolina, State of
                           Rhode Island, State of Vermont, State of Wisconsin, State of New Jersey, City and
                           County of San Francisco, Commonwealth of Massachusetts, State of California, State
                           of Colorado, State of Connecticut, State of Delaware, District of Columbia, State of
                           Hawaii, State of Maine. (Cedrone, Gerard) (Entered: 01/24/2025)
         01/24/2025   61   MOTION for Leave to Appear Pro Hac Vice for admission of Adam D. Kirschner
                           Filing fee: $ 125, receipt number AMADC−10805597 by State of Maryland.
                           (Attachments: # 1 Adam D. Kirschner Certification)(Cedrone, Gerard) (Entered:
                           01/24/2025)
         01/24/2025   62   NOTICE of Appearance by Robert Charles Merritt on behalf of Donald J. Trump,
                           U.S. Department of State, Marco Rubio, U.S. Department of Homeland Security,
                           Benjamine Huffman, U.S. Department of Health and Human Services, Dorothy Fink,
                           U.S. Social Security Administration, Michelle King, United States of America
                           (Merritt, Robert) (Entered: 01/24/2025)
         01/24/2025   63   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 61 Motion
                           for Leave to Appear Pro Hac Vice Added Adam D. Kirschner.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.



                                                                                                                   26
Case: 25-1158   Document: 00118249234            Page: 28        Date Filed: 02/18/2025           Entry ID: 6701022



                           (FGD) (Entered: 01/24/2025)
         01/24/2025   64   NOTICE of Appearance by Nicole Suzanne Hill on behalf of District of Columbia
                           (Hill, Nicole) (Entered: 01/24/2025)
         01/24/2025   65   NOTICE of Appearance by Denise Yesenia Levey on behalf of State of California
                           (Levey, Denise) (Entered: 01/24/2025)
         01/24/2025   66   NOTICE of Appearance by Irina Trasovan on behalf of State of California
                           (Trasovan, Irina) (Entered: 01/24/2025)
         01/24/2025   67   NOTICE of Appearance by Zoe Levine on behalf of State of New York (Levine,
                           Zoe) (Entered: 01/24/2025)
         01/24/2025   68   NOTICE of Appearance by Delbert Tran on behalf of State of California (Tran,
                           Delbert) (Entered: 01/24/2025)
         01/24/2025   69   NOTICE of Appearance by Lorraine Lopez on behalf of State of California (Lopez,
                           Lorraine) (Entered: 01/24/2025)
         01/24/2025   70   NOTICE of Appearance by Annabelle Cathryn Wilmott on behalf of State of
                           California (Wilmott, Annabelle) (Entered: 01/24/2025)
         01/24/2025   71   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered.

                           After review of the response to the Order to Show Cause filed by the Plaintiffs, Doc.
                           No. 59, the Court discharges the Order and determines that the two cases at issue are
                           related within the meaning of Local Rule 40.1(g) for the reasons expressed in the
                           filing. Most significantly, the Court notes: (1) though the Complaint and Motion
                           filed by the Plaintiffs in this case involve a broader range of factual issues, they do
                           also involve the same factual issues raised by the Doe Complaint and Motion; (2)
                           random reassignment of this case poses a risk of different determinations as to the
                           same factual issues, as well as a possible risk that Defendants might become subject
                           to conflicting court orders regarding their treatment of Ms. Doe and members of the
                           organizations that are also plaintiffs in the Doe case; and (3) counsel representing all
                           Defendants in both cases &ldquo;do not oppose continuing to treat the cases as
                           related,&rdquo; Doc. No. 59 at 1 n.1. In addition, the Court ADOPTS the jointly
                           proposed briefing deadlines, Doc. No. 60 at 1, and schedules a hearing on the
                           Plaintiffs&rsquo; motion for preliminary injunction (Doc. No. 3) for February 7,
                           2025, at 10:00 AM, along with the previously scheduled hearing on the motion for
                           preliminary injunctive relief in Doe.( Motion Hearing set for 2/7/2025 10:00 AM in
                           Courtroom 13 (In person only) before District Judge Leo T. Sorokin.)(SED)
                           (Entered: 01/24/2025)
         01/24/2025   72   NOTICE of Appearance by Marissa Malouff on behalf of State of California
                           (Malouff, Marissa) (Entered: 01/24/2025)
         01/27/2025   73   NOTICE of Appearance by John C. Keller on behalf of State of Minnesota (Keller,
                           John) (Entered: 01/27/2025)
         01/27/2025   74   NOTICE of Appearance by Shefali Saxena on behalf of State of New Jersey (Saxena,
                           Shefali) (Additional attachment(s) added on 1/28/2025: # 1 Certficate of Service)
                           (FGD). (Entered: 01/27/2025)
         01/27/2025   75   NOTICE of Appearance by Elizabeth R. Walsh on behalf of State of New Jersey
                           (Walsh, Elizabeth) (Additional attachment(s) added on 1/28/2025: # 1 Certficate of


                                                                                                                      27
Case: 25-1158   Document: 00118249234          Page: 29       Date Filed: 02/18/2025         Entry ID: 6701022



                           Service) (FGD). (Main Document 75 replaced on 1/28/2025, with corrected
                           information per counsel's request.) (FGD) (Entered: 01/27/2025)
         01/27/2025   76   NOTICE of Appearance by William M. Tong on behalf of State of Connecticut
                           (Tong, William) (Entered: 01/27/2025)
         01/27/2025   77   NOTICE of Appearance by Janelle Medeiros on behalf of State of Connecticut
                           (Medeiros, Janelle) (Entered: 01/27/2025)
         01/27/2025   78   NOTICE of Appearance by Yuri Fuchs on behalf of Donald J. Trump, U.S.
                           Department of State, Marco Rubio, U.S. Department of Homeland Security,
                           Benjamine Huffman, U.S. Department of Health and Human Services, Dorothy Fink,
                           U.S. Social Security Administration, Michelle King, United States of America
                           (Fuchs, Yuri) (Entered: 01/27/2025)
         01/27/2025   79   MOTION for Leave to Appear Pro Hac Vice for admission of Heidi Parry Stern
                           Filing fee: $ 125, receipt number AMADC−10808133 by State of Nevada.
                           (Attachments: # 1 Heidi Parry Stern Certification)(Cedrone, Gerard) (Entered:
                           01/27/2025)
         01/27/2025   80   NOTICE of Appearance by Kalikoonalani Diara Fernandes on behalf of State of
                           Hawaii (Fernandes, Kalikoonalani) (Entered: 01/27/2025)
         01/28/2025   81   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 79 Motion
                           for Leave to Appear Pro Hac Vice Added Heidi Parry Stern.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 01/28/2025)
         01/28/2025   82   NOTICE of Appearance by Viviana Maria Hanley on behalf of State of New Jersey
                           (Hanley, Viviana) (Entered: 01/28/2025)
         01/28/2025   83   District Judge Leo T. Sorokin: ORDER entered. New Civil Cases General Procedural
                           ORDER. (FGD) (Entered: 01/28/2025)
         01/28/2025   84   MOTION for Leave to File Proposed Amicus Brief by Local Governments and Local
                           Government Officials. (Attachments: # 1 Exhibit Proposed Amicus Brief)(Miller,
                           Jonathan) (Entered: 01/28/2025)
         01/29/2025   85   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered: re 84 MOTION for
                           Leave to File Proposed Amicus Brief.




                                                                                                                28
Case: 25-1158   Document: 00118249234           Page: 30        Date Filed: 02/18/2025          Entry ID: 6701022



                           This motion is ALLOWED with the consent of all parties. Counsel using the
                           Electronic Case Filing System should now file the document for which leave to file
                           has been granted in accordance with the CM/ECF Administrative Procedures.
                           Counsel must include − Leave to file granted on (date of order)− in the caption of the
                           document. (SED) (Entered: 01/29/2025)
         01/29/2025   86   NOTICE of Appearance by Adam Kirschner on behalf of State of Maryland
                           (Kirschner, Adam) (Entered: 01/29/2025)
         01/29/2025   87   NOTICE of Appearance by Heidi Parry Stern on behalf of State of Nevada (Stern,
                           Heidi) (Entered: 01/29/2025)
         01/29/2025   88   AMICUS BRIEF filed by Local Governments and Local Government Officials .
                           (Miller, Jonathan) (Entered: 01/29/2025)
         01/29/2025   89   NOTICE of Appearance by Shankar Duraiswamy on behalf of State of New Jersey
                           (Duraiswamy, Shankar) (Entered: 01/29/2025)
         01/30/2025   90   MOTION for Leave to Appear Pro Hac Vice for admission of David Chiu, Yvonne
                           R. Mere, Sara J. Eisenberg, and Mollie M. Lee by City and County of San Francisco.
                           (Attachments: # 1 David Chiu Certification, # 2 Yvonne R. Mere Certification, # 3
                           Sara J. Eisenberg Certification, # 4 Mollie M. Lee Certification)(Cedrone, Gerard)
                           (Entered: 01/30/2025)
         01/30/2025   91   NOTICE of Appearance by Gabe Johnson−Karp on behalf of State of Wisconsin
                           (Johnson−Karp, Gabe) (Entered: 01/30/2025)
         01/31/2025   92   Opposition re 3 MOTION for Preliminary Injunction and for Expedited Briefing filed
                           by Donald J. Trump, U.S. Department of State, Marco Rubio, U.S. Department of
                           Homeland Security, Benjamine Huffman, U.S. Department of Health and Human
                           Services, Dorothy Fink, U.S. Social Security Administration, Michelle King, United
                           States of America. (Merritt, Robert) (Entered: 01/31/2025)
         01/31/2025   93   MOTION for Leave to Appear Pro Hac Vice for admission of Ian R. Liston Filing
                           fee: $ 125, receipt number AMADC−10818610 by State of Delaware. (Attachments:
                           # 1 Ian R. Liston Certification)(Cedrone, Gerard) (Entered: 01/31/2025)
         02/03/2025   94   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 93 Motion
                           for Leave to Appear Pro Hac Vice Added Ian R. Liston.

                           Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                           a shared firm account, to electronically file in the District of Massachusetts. To
                           register for a PACER account, go the Pacer website at
                           https://pacer.uscourts.gov/register−account. You must put the docket number
                           under ADDITIONAL FILER INFORMATION on your form when registering
                           or it will be rejected.

                           Pro Hac Vice Admission Request Instructions
                           https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                           A Notice of Appearance must be entered on the docket by the newly admitted
                           attorney.

                           (FGD) (Entered: 02/03/2025)



                                                                                                                    29
Case: 25-1158   Document: 00118249234            Page: 31       Date Filed: 02/18/2025           Entry ID: 6701022



         02/03/2025    95   MOTION for Leave to File Proposed Amicus Brief by The State of Iowa and 17 other
                            States. (Attachments: # 1 Exhibit [Proposed] Amicus Brief)(Lindzen, Nathaniel)
                            (Main Document 95 replaced on 2/3/2025, with corrected PDF) (FGD). Modified
                            docket text on 2/4/2025 to correct filer. (Entered: 02/03/2025)
         02/03/2025    96   MOTION for Limited Intervention as of Right, the Constitutional Challenge to the
                            Executive Order Purporting to End Birthright Citizenship by Leonard W. Houston.
                            (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Cover Letter). (FGD) (Entered:
                            02/03/2025)
         02/03/2025    97   MOTION for Leave to File Amicus Brief by State of Tennessee. (Attachments: # 1
                            Exhibit State of Tennessee's proposed amicus brief)(Coulam, Andrew) (Entered:
                            02/03/2025)
         02/03/2025    98   NOTICE of Appearance by George W. Vien on behalf of Members of Congress
                            (Vien, George) (Entered: 02/03/2025)
         02/03/2025    99   NOTICE of Appearance by Matthew James O'Brien on behalf of Immigration
                            Reform Law Institute (O'Brien, Matthew) (Entered: 02/03/2025)
         02/03/2025   100   NOTICE of Appearance by Pietro A. Conte on behalf of Members of Congress
                            (Conte, Pietro) (Entered: 02/03/2025)
         02/03/2025   101   MOTION for Leave to Appear Pro Hac Vice for admission of R. Trent McCotter
                            Filing fee: $ 125, receipt number AMADC−10820936 by Members of Congress.
                            (Attachments: # 1 Affidavit Exhibit A − Affidavit of R. Trent McCotter)(Vien,
                            George) (Entered: 02/03/2025)
         02/03/2025   102   MOTION for Leave to Appear Pro Hac Vice for admission of Daniel Epstein Filing
                            fee: $ 125, receipt number AMADC−10820973 by Members of Congress.
                            (Attachments: # 1 Affidavit Exhibit A − Affidavit of Daniel Epstein)(Vien, George)
                            (Entered: 02/03/2025)
         02/03/2025   103   Consent MOTION for Leave to File Amicus Brief by Immigration Reform Law
                            Institute. (Attachments: # 1 IRLI Amicus Brief)(O'Brien, Matthew) (Entered:
                            02/03/2025)
         02/03/2025   104   MOTION for Leave to File Amicus Brief by Members of Congress. (Attachments: # 1
                            Exhibit A − Proposed Amicus Brief)(Vien, George) (Entered: 02/03/2025)
         02/03/2025   105   MOTION for Leave to Appear Pro Hac Vice for admission of Gabriel R. Canaan,
                            Christopher J. Hajec Filing fee: $ 250, receipt number AMADC−10820983 by
                            Immigration Reform Law Institute. (Attachments: # 1 Gabriel R. Canaan
                            Certification, # 2 Christopher J. Hajec Certification)(O'Brien, Matthew) (Entered:
                            02/03/2025)
         02/03/2025   106   MOTION for Leave to Appear Pro Hac Vice for admission of James Matthew Rice
                            and Whitney D. Hermandorfer Filing fee: $ 250, receipt number AMADC−10820848
                            by State of Tennessee. (Attachments: # 1 Exhibit Certificate of JMR, # 2 Exhibit
                            Certificate of WDH)(Coulam, Andrew) (Entered: 02/03/2025)
         02/03/2025   107   NOTICE of Appearance by Andrew C. Coulam on behalf of State of Tennessee
                            (Coulam, Andrew) (Entered: 02/03/2025)
         02/03/2025   108   NOTICE of Appearance by Jeremy Feigenbaum on behalf of State of New Jersey
                            (Feigenbaum, Jeremy) (Entered: 02/03/2025)


                                                                                                                 30
Case: 25-1158   Document: 00118249234           Page: 32       Date Filed: 02/18/2025         Entry ID: 6701022



         02/04/2025   109   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 101 Motion
                            for Leave to Appear Pro Hac Vice Added R. Trent McCotter.

                            Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                            a shared firm account, to electronically file in the District of Massachusetts. To
                            register for a PACER account, go the Pacer website at
                            https://pacer.uscourts.gov/register−account. You must put the docket number
                            under ADDITIONAL FILER INFORMATION on your form when registering
                            or it will be rejected.

                            Pro Hac Vice Admission Request Instructions
                            https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                            A Notice of Appearance must be entered on the docket by the newly admitted
                            attorney.

                            (FGD) (Entered: 02/04/2025)
         02/04/2025   110   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 102 Motion
                            for Leave to Appear Pro Hac Vice Added Daniel Epstein.

                            Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                            a shared firm account, to electronically file in the District of Massachusetts. To
                            register for a PACER account, go the Pacer website at
                            https://pacer.uscourts.gov/register−account. You must put the docket number
                            under ADDITIONAL FILER INFORMATION on your form when registering
                            or it will be rejected.

                            Pro Hac Vice Admission Request Instructions
                            https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                            A Notice of Appearance must be entered on the docket by the newly admitted
                            attorney.

                            (FGD) (Entered: 02/04/2025)
         02/04/2025   111   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 105 Motion
                            for Leave to Appear Pro Hac Vice Added Gabriel R. Canaan, and Christopher J.
                            Hajec.

                            Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                            a shared firm account, to electronically file in the District of Massachusetts. To
                            register for a PACER account, go the Pacer website at
                            https://pacer.uscourts.gov/register−account. You must put the docket number
                            under ADDITIONAL FILER INFORMATION on your form when registering
                            or it will be rejected.

                            Pro Hac Vice Admission Request Instructions
                            https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                            A Notice of Appearance must be entered on the docket by the newly admitted
                            attorney.


                                                                                                                 31
Case: 25-1158   Document: 00118249234            Page: 33        Date Filed: 02/18/2025            Entry ID: 6701022



                            (FGD) (Entered: 02/04/2025)
         02/04/2025   112   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 106 Motion
                            for Leave to Appear Pro Hac Vice Added Matthew Rice, and Whitney D.
                            Hermandorfer.

                            Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                            a shared firm account, to electronically file in the District of Massachusetts. To
                            register for a PACER account, go the Pacer website at
                            https://pacer.uscourts.gov/register−account. You must put the docket number
                            under ADDITIONAL FILER INFORMATION on your form when registering
                            or it will be rejected.

                            Pro Hac Vice Admission Request Instructions
                            https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                            A Notice of Appearance must be entered on the docket by the newly admitted
                            attorney.

                            (FGD) (Entered: 02/04/2025)
         02/04/2025   113   NOTICE of Appearance by Whitney D. Hermandorfer on behalf of State of
                            Tennessee (Hermandorfer, Whitney) (Entered: 02/04/2025)
         02/04/2025   114   NOTICE of Appearance by R. Trent McCotter on behalf of Members of Congress
                            (McCotter, R. Trent) (Entered: 02/04/2025)
         02/04/2025   115   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered:

                            The Motions for Leave to submit amicus brief filed by Iowa and Seventeen States (#
                            95 ), Tennessee (# 97 ), Immigration Reform Law Institute (# 103 ), and Members of
                            Congress (# 104 ) are ALLOWED. Counsel using the Electronic Case Filing System
                            should now file the document for which leave to file has been granted in accordance
                            with the CM/ECF Administrative Procedures. Counsel must include − Leave to file
                            granted on (date of order)− in the caption of the document. (FGD) (Entered:
                            02/04/2025)
         02/04/2025   116   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered:

                            The Motion to Intervene (# 96 ) filed pro se by Leonard Houston is DENIED. Even
                            construed liberally, the submission fails to satisfy the movant's burden to establish
                            entitlement to intervention pursuant to Fed. R. Civ. P. 24(a)−(b). The Court directs
                            the Clerk not to place any future filings by Mr. Houston on the docket for this case
                            unless the filing is a motion for reconsideration or a notice of appeal of this order.
                            (FGD) (Entered: 02/04/2025)
         02/04/2025   117   Copy re 116 Order, mailed to Leonard Houston on 2/4/2025. (FGD) (Entered:
                            02/04/2025)
         02/04/2025   118   AMICUS BRIEF filed by Members of Congress . (Conte, Pietro) (Entered:
                            02/04/2025)
         02/04/2025   119   NOTICE of Appearance by James Matthew Rice on behalf of State of Tennessee
                            (Rice, James) (Entered: 02/04/2025)


                                                                                                                     32
Case: 25-1158   Document: 00118249234           Page: 34        Date Filed: 02/18/2025         Entry ID: 6701022



         02/04/2025   120   AMICUS BRIEF filed by Immigration Reform Law Institute . (O'Brien, Matthew)
                            (Entered: 02/04/2025)
         02/04/2025   121   NOTICE of Appearance by Nathaniel M. Lindzen on behalf of The State of Iowa and
                            17 other States (Lindzen, Nathaniel) (Entered: 02/04/2025)
         02/04/2025   122   AMICUS BRIEF filed by The State of Iowa and 17 other States . (Lindzen,
                            Nathaniel) (Entered: 02/04/2025)
         02/04/2025   123   REPLY to Response to 3 MOTION for Preliminary Injunction and for Expedited
                            Briefing filed by State of Maryland, Dana Nessel, State of Minnesota, State of
                            Nevada, State of New Mexico, State of New York, State of North Carolina, State of
                            Rhode Island, State of Vermont, State of Wisconsin, State of New Jersey, City and
                            County of San Francisco, Commonwealth of Massachusetts, State of California, State
                            of Colorado, State of Connecticut, State of Delaware, District of Columbia, State of
                            Hawaii, State of Maine. (Attachments: # 1 Exhibit 1860 Webster's Dictionary
                            Excerpt, # 2 Exhibit Hearings on H.R. 6127)(Hanley, Viviana) (Entered: 02/04/2025)
         02/04/2025   124   MOTION for Leave to File Amicus Brief in Opposition to Plaintiff's 3 MOTION for
                            Preliminary Injunction filed by Edwin L Meese, III . (Attachments: # 1 Exhibit
                            Amicus Brief)(McNamara, Frank) Modified docketing event and docket text on
                            2/5/2025, to properly reflect document filed. (FGD) (Entered: 02/04/2025)
         02/04/2025   125   Amicus Curiae APPEARANCE entered by Frank L. McNamara, Jr on behalf of
                            Edwin L Meese, III. (McNamara, Frank) Modified on 2/5/2025: Removed duplicate
                            attachment that was already filed with motion. (FGD) (Entered: 02/04/2025)
         02/05/2025   126   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered re: 124 MOTION for
                            Leave to File Amicus Brief in Opposition to Plaintiff's 3 MOTION for Preliminary
                            Injunction.

                            ALLOWED. Counsel using the Electronic Case Filing System should now file the
                            document for which leave to file has been granted in accordance with the CM/ECF
                            Administrative Procedures. Counsel must include − Leave to file granted on (date of
                            order)− in the caption of the document. (FGD) (Entered: 02/05/2025)
         02/05/2025   127   AMICUS BRIEF filed by State of Tennessee . (Coulam, Andrew) (Entered:
                            02/05/2025)
         02/05/2025   128   NOTICE of Appearance by Ryan P. McLane on behalf of Edwin L Meese, III
                            (McLane, Ryan) (Entered: 02/05/2025)
         02/05/2025   129   AMICUS BRIEF filed by Edwin L Meese, III . (McLane, Ryan) (Main Document
                            129 replaced on 2/6/2025, with corrected PDF) (FGD). (Entered: 02/05/2025)
         02/06/2025   130   NOTICE of Appearance by Eric Hamilton on behalf of Donald J. Trump, U.S.
                            Department of State, Marco Rubio, U.S. Department of Homeland Security,
                            Benjamine Huffman, U.S. Department of Health and Human Services, Dorothy Fink,
                            U.S. Social Security Administration, Michelle King, United States of America
                            (Hamilton, Eric) (Entered: 02/06/2025)
         02/06/2025   131   Letter/request (non−motion) from Rubin Young. (Attachments: # 1 Envelope).
                            (FGD) (Entered: 02/06/2025)
         02/06/2025   132   Friend of the Court BRIEF in Support of the President's Executive Order Clarifying
                            the 14th Amendment by Rubin Young. (Attachments: # 1 Exhibit). (FGD) (Entered:


                                                                                                                   33
Case: 25-1158   Document: 00118249234            Page: 35       Date Filed: 02/18/2025          Entry ID: 6701022



                            02/06/2025)
         02/07/2025   133   Payment: $ 125.00, receipt number 100010533 for 90 MOTION for Leave to Appear
                            Pro Hac Vice for admission of David Chiu, Yvonne R. Mere, Sara J. Eisenberg, and
                            Mollie M. Lee (LBO) (Entered: 02/07/2025)
         02/07/2025   134   Payment: $ 125.00, receipt number 100010534 for 90 MOTION for Leave to Appear
                            Pro Hac Vice for admission of David Chiu, Yvonne R. Mere, Sara J. Eisenberg, and
                            Mollie M. Lee (LBO) (Entered: 02/07/2025)
         02/07/2025   135   Payment: $ 125.00, receipt number 100010535 for 90 MOTION for Leave to Appear
                            Pro Hac Vice for admission of David Chiu, Yvonne R. Mere, Sara J. Eisenberg, and
                            Mollie M. Lee (LBO) (Entered: 02/07/2025)
         02/07/2025   136   Electronic Clerk's Notes for proceedings held before District Judge Leo T. Sorokin:

                            Motion Hearing held on 2/7/2025 re ( 10 in 1:25−cv−10135−LTS) MOTION for
                            Preliminary Injunction and ( 3 in 1:25−cv−10139−LTS) MOTION for Preliminary
                            Injunction. The court hears arguments on both motions for preliminary injunction.
                            The motions are taken under advisement.

                            (Court Reporter: Rachel Lopez at raeufp@gmail.com.)(Attorneys present: Mirian
                            Albert, Oren M. Sellstrom, and Jacob M. Love for plaintiffs in case 25cv10135−LTS,
                            Shankar Duraiswamy, Gerard J. Cedrone, Jared B. Cohen, and Irina Trasovan for
                            plaintiffs in case 25cv10139−LTS, Brad P. Rosenberg, and Eric Hamilton for the
                            defendants.)

                            Associated Cases: 1:25−cv−10135−LTS, 1:25−cv−10139−LTS(SED) (Entered:
                            02/07/2025)
         02/07/2025   137   Payment: $ 125.00, receipt number 100010536 for 90 MOTION for Leave to Appear
                            Pro Hac Vice for admission of David Chiu, Yvonne R. Mere, Sara J. Eisenberg, and
                            Mollie M. Lee (LBO) (Entered: 02/07/2025)
         02/07/2025   138   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered granting 90 Motion
                            for Leave to Appear Pro Hac Vice Added David Chiu, Yvonne R. Mere, Sara J.
                            Eisenberg, and Mollie M. Lee.

                            Attorneys admitted Pro Hac Vice must have an individual PACER account, not
                            a shared firm account, to electronically file in the District of Massachusetts. To
                            register for a PACER account, go the Pacer website at
                            https://pacer.uscourts.gov/register−account. You must put the docket number
                            under ADDITIONAL FILER INFORMATION on your form when registering
                            or it will be rejected.

                            Pro Hac Vice Admission Request Instructions
                            https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                            A Notice of Appearance must be entered on the docket by the newly admitted
                            attorney.

                            (FGD) (Entered: 02/07/2025)
         02/11/2025   139


                                                                                                                  34
Case: 25-1158   Document: 00118249234            Page: 36        Date Filed: 02/18/2025           Entry ID: 6701022



                            NOTICE of Appearance by Julio A Thompson on behalf of State of Vermont
                            (Thompson, Julio) (Entered: 02/11/2025)
         02/12/2025   140   NOTICE of Brazenburg V. Hayes Motion by Mark Marvin (Attachments: # 1
                            Exhibit, # 2 Envelope). (FGD) (Entered: 02/12/2025)
         02/13/2025   142   Transcript of Motion Hearing held on February 7, 2025, before Judge Leo T.
                            Sorokin. The Transcript may be purchased through the Court Reporter, viewed at the
                            public terminal, or viewed through PACER after it is released. Court Reporter Name
                            and Contact Information: Rachel Lopez at raeufp@gmail.com. Redaction Request
                            due 3/6/2025. Redacted Transcript Deadline set for 3/17/2025. Release of Transcript
                            Restriction set for 5/14/2025. Associated Cases: 1:25−cv−10135−LTS,
                            1:25−cv−10139−LTS(DRK) (Entered: 02/13/2025)
         02/13/2025   143   NOTICE is hereby given that an official transcript of a proceeding has been filed by
                            the court reporter in the above−captioned matter. Counsel are referred to the Court's
                            Transcript Redaction Policy, available on the court website at
                            https://www.mad.uscourts.gov/caseinfo/transcripts.htm Associated Cases:
                            1:25−cv−10135−LTS, 1:25−cv−10139−LTS(DRK) (Entered: 02/13/2025)
         02/13/2025   144   District Judge Leo T. Sorokin: ORDER entered. MEMORANDUM OF DECISION
                            ON MOTIONS FOR PRELIMINARY INJUNCTION.

                            Associated Cases: 1:25−cv−10139−LTS, 1:25−cv−10135−LTS(FGD) (Entered:
                            02/13/2025)
         02/13/2025   145   District Judge Leo T. Sorokin: ORDER entered. PRELIMINARY INJUNCTION.
                            (FGD) (Entered: 02/13/2025)
         02/13/2025   146   District Judge Leo T. Sorokin: ELECTRONIC ORDER entered.

                            The letter request filed pro se by Rubin Young (Doc. No. 131 ) seeking permission to
                            file an amicus brief (Doc. No. 132 ) is DENIED. Acceptance of an amicus brief is a
                            matter of discretion, and these submissions do not establish that Mr. Young "has a
                            special interest that justifies his having a say" in this case. Strasser v. Doorley, 432
                            F.2d 567, 569 (1st Cir. 1970).

                            The "Notice of Branzburg v. Hayes Motion" filed pro se by Mark Marvin (Doc. No.
                            140 ) is DENIED to the extent it seeks dismissal of this action. Mr. Marvin is neither
                            a party nor an intervenor and has not otherwise sought and obtained leave to
                            participate in this action.

                            The Emergency and Ex Parte Motion to Intervene (Doc. No. 141 ) filed pro se by
                            Melvin Jones Jr. is DENIED. Even construed liberally, the submission fails to satisfy
                            the movant's burden to establish entitlement to intervention pursuant to Fed. R. Civ.
                            P. 24(a)−(b).

                            The Court directs the Clerk not to place any future filing by Mr. Young, Mr. Marvin,
                            or Mr. Jones on the docket for this case unless the filing is a motion for
                            reconsideration or a notice of appeal of this order.

                            (FGD) (Entered: 02/13/2025)
         02/14/2025   147


                                                                                                                       35
Case: 25-1158   Document: 00118249234          Page: 37       Date Filed: 02/18/2025       Entry ID: 6701022



                            NOTICE of Appearance by Mollie Mindes Lee on behalf of City and County of San
                            Francisco (Lee, Mollie) (Entered: 02/14/2025)
         02/14/2025   148   NOTICE of Appearance by Yvonne Mere on behalf of City and County of San
                            Francisco (Mere, Yvonne) (Entered: 02/14/2025)
         02/14/2025   149   NOTICE of Appearance by David S. Chiu on behalf of City and County of San
                            Francisco (Chiu, David) (Entered: 02/14/2025)
         02/14/2025   150   NOTICE OF APPEAL as to 146 Order,,,,, Terminate Motions,,,, 145 Preliminary
                            Injunction, 144 Memorandum & ORDER, Terminate Motions by Melvin Jones, Jr.
                            NOTICE TO COUNSEL: A Transcript Report/Order Form, which can be
                            downloaded from the First Circuit Court of Appeals web site at
                            http://www.ca1.uscourts.gov MUST be completed and submitted to the Court of
                            Appeals. Counsel shall register for a First Circuit CM/ECF Appellate Filer
                            Account at http://pacer.psc.uscourts.gov/cmecf. Counsel shall also review the
                            First Circuit requirements for electronic filing by visiting the CM/ECF
                            Information section at http://www.ca1.uscourts.gov/cmecf. US District Court
                            Clerk to deliver official record to Court of Appeals by 3/6/2025. (FGD)
                            (Entered: 02/14/2025)




                                                                                                            36
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 38
                                               144               Date
                                                                 FiledFiled: 02/18/2025
                                                                       02/13/25            Entry
                                                                                   Page 1 of 31 ID: 6701022




                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

                                                     )
       O. DOE et al.,                                )
                                                     )
              Plaintiffs,                            )
                                                     )
       v.                                            )      Civil No. 25-10135-LTS
                                                     )
       DONALD J. TRUMP et al.,                       )
                                                     )
              Defendants.                            )
                                                     )
                                                     )
       STATE OF NEW JERSEY et al.,                   )
                                                     )
              Plaintiffs,                            )
                                                     )
       v.                                            )      Civil No. 25-10139-LTS
                                                     )
       DONALD J. TRUMP et al.,                       )
                                                     )
              Defendants.                            )
                                                     )

            MEMORANDUM OF DECISION ON MOTIONS FOR PRELIMINARY INJUNCTION

                                               February 13, 2025

       SOROKIN, J.

              In this pair of lawsuits, two groups of plaintiffs advance similar challenges to the legality

       of one executive order among many issued by President Donald Trump on January 20, 2025.

       The executive order is titled “Protecting the Meaning and Value of American Citizenship” (“the

       EO”). Exec. Order No. 14,160 (Jan. 20, 2025). 1 The EO identifies two “categories of



       1
         Multiple copies of the EO have been made part of the record before the Court. When
       referencing submissions filed in Doe et al. v. Trump et al., No. 25-cv-10135, the Court will cite
       to “Doe, Doc. No. __ at __.” For submissions filed in New Jersey et al. v. Trump et al., No. 25-
       cv-10139, the Court will cite to “New Jersey, Doc. No. __ at __.” All such citations use the
       document and page numbering appearing in the ECF header, except where pinpoint citations




                                                                                                              37
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 39
                                               144               Date
                                                                 FiledFiled: 02/18/2025
                                                                       02/13/25            Entry
                                                                                   Page 2 of 31 ID: 6701022




       individuals born in the United States” to whom the EO says “the privilege of United States

       citizenship does not automatically extend,” then directs federal departments and agencies to

       cease issuing or accepting “documents recognizing United States citizenship” for such

       individuals born after February 19, 2025. Doe, Doc. No. 1-1 §§ 1-3.

              Both groups of plaintiffs assert that the EO violates the Citizenship Clause of the

       Fourteenth Amendment to the United State Constitution, along with other constitutional

       provisions and federal statutes. Each group seeks a preliminary injunction preventing the EO

       from taking effect. Doe, Doc. No. 10; New Jersey, Doc. No. 3. The motions are fully briefed

       and were the subject of a motion hearing. 2

              In opposing the requests for injunctions, the defendants assert an array of arguments,

       which the Court addresses briefly here and in detail below. For starters, each plaintiff has

       standing to sue, because the uncontested facts establish each would suffer direct injury from the

       EO’s implementation. The plaintiffs are also likely to succeed on the merits of their claims. In a

       lengthy 1898 decision, the Supreme Court examined the Citizenship Clause, adopting the

       interpretation the plaintiffs advance and rejecting the interpretation expressed in the EO. The

       rule and reasoning from that decision were reiterated and applied in later decisions, adopted by




       reference enumerated sections or paragraphs within the document. The EO appears at Doe, Doc.
       No. 1-1, and New Jersey, Doc. No. 1-1.
       2
         The Court has accepted amicus curiae briefs from the following groups: a collection of local
       governments and officials representing seventy-two jurisdictions in twenty-four states; eighteen
       members of Congress serving on the House Judiciary Committee; the Immigration Reform Law
       Institute; the State of Iowa along with seventeen other states; the State of Tennessee; and former
       U.S. Attorney General Edwin Meese III. Doe, Doc. Nos. 32, 38, 40; New Jersey, Doc. Nos. 88,
       118, 120, 122, 127, 129. The Court has considered these submissions only insofar as they
       concern legal issues and positions advanced by the parties. See United States v. Sturm, Ruger &
       Co., 84 F.3d 1, 6 (1st Cir. 1996) (explaining “an amicus cannot introduce a new argument into a
       case”). While several of these briefs were helpful, the submission by the State of Tennessee was
       especially well written.
                                                        2


                                                                                                            38
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 40
                                               144                Date
                                                                  FiledFiled: 02/18/2025
                                                                        02/13/25            Entry
                                                                                    Page 3 of 31 ID: 6701022




       Congress as a matter of federal statutory law in 1940, and followed consistently by the Executive

       Branch for the past 100 years, at least. A single district judge would be bound to apply that

       settled interpretation, even if a party were to present persuasive arguments that the long-

       established understanding is erroneous.

              The defendants, however, have offered no such arguments here. Their three main

       contentions are flawed. First, allegiance in the United States arises from the fact of birth. It does

       not depend on the status of a child’s parents, nor must it be exclusive, as the defendants contend.

       Applying the defendants’ view of allegiance would mean children of dual citizens and lawful

       permanent residents would not be birthright citizens—a result even the defendants do not

       support. Next, the defendants argue birthright citizenship requires the mutual consent of the

       person and the Nation. This theory disregards the original purpose of the Fourteenth

       Amendment: to recognize as birthright citizens the children of enslaved persons who did not

       enter the country consensually, but were brought to our shores in chains. There is no basis to

       think the drafters imposed a requirement excluding the very people the Amendment aimed to

       make citizens. Simply put, the Amendment is the Nation’s consent to accept and protect as

       citizens those born here, subject to the few narrow exceptions recognized at the time of

       enactment, none of which are at issue here. Finally, the Amendment requires states to recognize

       birthright citizens as citizens of their state of residence. The text includes no domicile

       requirement at all.

              Each of the defendants’ theories focuses on the parents, rather than the child whose

       citizenship is at stake. In so doing, these interpretations stray from the text of the Citizenship

       Clause. The Fourteenth Amendment says nothing of the birthright citizen’s parents, and efforts




                                                         3


                                                                                                               39
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 41
                                               144                Date
                                                                  FiledFiled: 02/18/2025
                                                                        02/13/25            Entry
                                                                                    Page 4 of 31 ID: 6701022




       to import such considerations at the time of enactment and when the Supreme Court construed

       the text were rejected. This Court is likewise bound to reject such theories now.

              The plaintiffs have also satisfied the other preliminary-injunction factors. Each plaintiff

       faces irreparable harm, the defendants face none, and the public interest favors enjoining the EO.

       Accordingly, the plaintiffs in each case are entitled to an injunction preventing implementation

       of the EO. The individual and two associations who are plaintiffs in the earlier-filed action will

       be fully protected by an injunction limited to the individual and the members of the associations.

       The later-filed case, brought by eighteen states and two cities, requires a broader, nationwide

       injunction. Applying traditional equity principles, such relief is necessary because the record

       establishes that the harms these plaintiffs face arise not only from births within their borders, but

       also when children born elsewhere return or move to one of the plaintiff jurisdictions.

              For these reasons, the plaintiffs’ motions are ALLOWED. This ruling, explained further

       below and memorialized in separate Orders issued concurrently with this Memorandum, is based

       on straightforward application of settled Supreme Court precedent reiterated and reaffirmed in

       various ways for more than a century by all three branches of the federal government.

         I.   BACKGROUND

              Within hours of taking office, the President signed the EO, which he describes as “an

       integral part of [his] broader effort to repair the United States’ immigration system and to

       address the ongoing crises at the southern border.” Doe, Doc. No. 22 at 14. The EO, however,

       does not directly concern immigration; rather, it seeks to define the scope of birthright

       citizenship in the United States. In the section stating its purpose, the EO acknowledges that the

       Citizenship Clause and a section of the Immigration and Naturalization Act (“INA”), 8 U.S.C.

       § 1401, confer citizenship on any person born in the United States and “subject to the jurisdiction

       thereof.” Doe, Doc. No. 1-1 § 1. The EO goes on to identify two “categories of individuals born
                                                         4


                                                                                                               40
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 42
                                               144                Date
                                                                  FiledFiled: 02/18/2025
                                                                        02/13/25            Entry
                                                                                    Page 5 of 31 ID: 6701022




       in the United States” but “not subject to the jurisdiction thereof,” to whom birthright citizenship

       “does not automatically extend.” Id. A child falls within one of the identified categories if, at

       the time of their birth, their father was neither a citizen nor a lawful permanent resident (“LPR”)

       of the United States, and their mother was 1) “unlawfully present in the United States,” or

       2) lawfully but temporarily present in the United States “(such as, but not limited to, visiting the

       United States under the auspices of the Visa Waiver Program or visiting on a student, work, or

       tourist visa).” Id.

               The second section announces that it is “the policy of the United States that no

       department or agency” of the federal “government shall issue [or accept] documents recognizing

       United States citizenship” of children within the identified categories. Id. § 2. The stated policy

       “shall apply only to persons who are born” after February 19, 2025. Id. The EO expressly does

       not restrict the ability of U.S.-born children of LPRs to receive or use documents recognizing

       “their United States citizenship.” Id. Next, the EO directs the Secretary of State, the Attorney

       General, the Secretary of Homeland Security, and the Commissioner of Social Security to “take

       all appropriate measures to ensure that the regulations and policies of their respective

       departments and agencies are consistent with” the EO, and that no one within any identified

       department “act[s], or forbear[s] from acting, in any manner inconsistent with” the EO. Id.

       § 3(a). The EO further requires “[t]he heads of all executive departments and agencies” to “issue

       public guidance” by February 19, 2025, regarding implementation of the EO. Id. § 3(b).

               In a complaint filed the day the EO issued, an individual plaintiff and two nonprofit

       associations challenged its legality and sought equitable relief preventing its implementation.

       See generally Doe, Doc. No. 1. The individual plaintiff, proceeding under the pseudonym “O.

       Doe,” is “an expectant mother” who is lawfully present in the United States “through Temporary



                                                         5


                                                                                                              41
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 43
                                               144               Date
                                                                 FiledFiled: 02/18/2025
                                                                       02/13/25            Entry
                                                                                   Page 6 of 31 ID: 6701022




       Protected Status” (“TPS”). Id. ¶ 13. Doe’s husband, the father of the child due to be born next

       month, is neither a citizen nor LPR of this country. Id. The baby will be Doe’s second child; her

       first, now seven years old, also was born in the United States. Doe, Doc. No. 11-1 ¶ 3.

              Doe’s co-plaintiffs are La Colaborativa and the Brazilian Worker Center, two

       membership organizations located in eastern Massachusetts who provide immigration-related

       assistance, among other services. Doe, Doc. No. 1 ¶¶ 14-15. Both organizations have members

       who are unlawfully present in the United States, some of whom “are either pregnant or plan to

       grow their families in the future.” Id.; see Doe, Doc. No. 11-2 ¶ 4; Doe, Doc. No. 11-3 ¶¶ 8-10.

       Though the present record does not conclusively establish where the organizations’ members

       live, counsel at the motion hearing suggested the Court could view the members as located

       “primarily” (though perhaps not exclusively) in Massachusetts. Mot. Hr’g Tr. at 10, 76. 3 Doe

       and the organizations’ members have submitted unrebutted declarations describing the harms

       they allege the EO will cause the children it targets, who will be treated as noncitizens lacking

       any recognized, lawful immigration status. See generally Doe, Doc. Nos. 11-1 to -3.

              The day after Doe and her co-plaintiffs filed suit, New Jersey and a group of seventeen

       other states, along with the District of Columbia and San Francisco (collectively, “the State

       plaintiffs”), instituted a separate action also challenging the EO under provisions of the

       Constitution and other federal statutes. 4 New Jersey, Doc. No. 1. Along with their complaint,




       3
         The transcript of the February 7, 2025, hearing on the motions appears on both dockets. Doe,
       Doc. No. 44; New Jersey, Doc. No. 142.
       4
         Besides New Jersey, the plaintiffs in this action are Massachusetts, California, Colorado,
       Connecticut, Delaware, Hawaii, Maine, Maryland, Michigan (through its Attorney General),
       Minnesota, Nevada, New Mexico, New York, North Carolina, Rhode Island, Vermont, and
       Wisconsin. Venue is proper in the District of Massachusetts because the defendants are all
       officers or agencies of the United States, and at least one plaintiff in each case resides in
       Massachusetts. See 28 U.S.C. § 1391(e)(1)(C).
                                                        6


                                                                                                           42
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 44
                                               144                Date
                                                                  FiledFiled: 02/18/2025
                                                                        02/13/25            Entry
                                                                                    Page 7 of 31 ID: 6701022




       the State plaintiffs filed a motion for a preliminary injunction supported by a memorandum and

       more than two dozen exhibits. New Jersey, Doc. Nos. 3, 5, 5-1 to -27. The exhibits include

       declarations by various representatives of state agencies describing financial and administrative

       burdens they anticipate will result from the EO. See, e.g., New Jersey, Doc. Nos. 5-2, 5-8, 5-14,

       5-18 (describing impacts of EO on federal funding related to state health insurance programs,

       education, foster care, and hospital-based process for acquiring Social Security numbers at birth).

              Both complaints name as defendants the President, the State Department, the Secretary of

       State, the Social Security Administration, and the Acting Commissioner of Social Security. The

       State plaintiffs also sued the United States, the Department of Homeland Security, the Secretary

       of Homeland Security, the Department of Health and Human Services, and the Acting Secretary

       of Health and Human Services.

              On January 23, 2025, the Doe plaintiffs filed their own motion for a preliminary

       injunction, supporting memorandum, declarations, and other exhibits. Doe, Doc. Nos. 10, 11,

       11-1 to -10. After hearing from the parties, the Court deemed the cases related to one another

       and set a consolidated briefing schedule. New Jersey, Doc. No. 71; Doe, Doc. No. 12. The

       defendants opposed both motions, challenging the State plaintiffs’ standing to sue, arguing no

       plaintiff has advanced a valid cause of action, and urging that the plaintiffs have not satisfied the

       test governing preliminary-injunctive relief. See generally Doe, Doc. No. 22. Both sets of

       plaintiffs replied. Doe, Doc. No. 33; New Jersey, Doc. No. 123. The Court heard argument

       from all parties on February 7, 2025.

        II.   DISCUSSION

              Before addressing the factors governing requests for injunctive relief, the Court disposes

       of two preliminary challenges that the defendants suggest foreclose consideration of the merits of

       the plaintiffs’ motions. As the Court will explain, the defendants’ opening pair of procedural
                                                         7


                                                                                                               43
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 45
                                               144                  Date
                                                                    FiledFiled: 02/18/2025
                                                                          02/13/25            Entry
                                                                                      Page 8 of 31 ID: 6701022




       challenges, like their substantive arguments opposing the motions, wither in the face of settled

       and binding Supreme Court precedent.

                A.    Threshold Issues

                        1.    Standing

              The defendants first argue that the State plaintiffs lack standing to bring the claims

       alleged in their complaint. See New Jersey, Doc. No. 92 at 18-22. They are wrong.

              Article III of the Constitution “confines the federal judicial power to the resolution of

       ‘Cases’ and ‘Controversies’” in which a plaintiff can “demonstrate [a] personal stake.”

       TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021). To establish standing under Article III,

       a “plaintiff must have suffered an injury in fact—a concrete and imminent harm to a legally

       protected interest, like property or money—that is fairly traceable to the challenged conduct and

       likely to be redressed by the lawsuit.” Biden v. Nebraska, 600 U.S. ---, 143 S. Ct. 2355, 2365

       (2023). This test is satisfied if state- or local-government plaintiffs show that an allegedly

       unconstitutional executive action will likely trigger a loss of federal funds to which they

       otherwise would be entitled. See Dep’t of Com. v. New York, 588 U.S. 752, 767 (2019). Such a

       showing establishes injury that is “sufficiently concrete and imminent” and “fairly traceable” to

       the challenged action, thereby satisfying Article III. Id.

              The State plaintiffs easily meet this standard. 5 Uncontested declarations from officials

       representing several State plaintiffs articulate various forms of federal funding that will be


       5
         The defendants direct their standing challenge against the State plaintiffs as a group. They
       have not contested the showing made by any individual State plaintiff or subset of State
       plaintiffs. Even if the defendants had done so, the result would be the same. The record before
       the Court includes sworn declarations establishing standing on the part of at least several State
       plaintiffs. No more is required at this juncture. See Nebraska, 143 S. Ct. at 2365 (“If at least one
       plaintiff has standing, the suit may proceed.”); United States v. Texas, 599 U.S. 670, 709 n.1
       (2023) (Alito, J., dissenting) (“In a case with multiple plaintiffs, Article III permits us to reach
       the merits if any plaintiff has standing.”).
                                                         8


                                                                                                              44
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 46
                                               144                 Date
                                                                   FiledFiled: 02/18/2025
                                                                         02/13/25            Entry
                                                                                     Page 9 of 31 ID: 6701022




       diminished as a direct result of the EO. States receive federal funding to cover portions of

       services like health insurance, special education, and foster care in amounts that depend on how

       many “eligible” children receive such services. Citizenship is one component of eligibility for

       purposes of these programs. Pursuant to the EO, fewer children will be recognized as citizens at

       birth. That means the number of persons receiving services who are “eligible” under the

       identified federal programs will fall—and, as a direct result, the reimbursements and grants the

       State plaintiffs receive for these services will decrease. The reduction to such funding is a

       concrete and imminent injury directly and fairly traceable to the EO, redressable by the

       injunctive relief the State plaintiffs seek.

                 This is all the Constitution requires. Two decisions of the Supreme Court, both authored

       by Chief Justice Roberts, make the point. In 2023, the Chief Justice, joined by five other

       Justices, explained that Missouri had standing to challenge executive action discharging federal

       student loans, where a quasi-state agency stood to lose fees it would have collected for servicing

       the forgiven loans. Nebraska, 143 S. Ct. at 2366. A few years earlier, the Chief Justice

       conveyed the Supreme Court’s unanimous conclusion that “at least some” states had standing to

       challenge executive action revising the United States census. New York, 588 U.S. at 767-68. 6

       The proposed changes at issue raised the likelihood that persons without lawful immigration

       status would be undercounted, and states faced reductions in federal funds allocated according to

       population. Id. The State plaintiffs here challenge the EO based on precisely the same sort of

       direct financial impacts. They have identified federal grants and reimbursements to which they




       6
           Though some Justices parted ways as to other issues in the case, all agreed as to standing.
                                                          9


                                                                                                            45
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  47                 Date
                                                                  Filed Filed: 02/18/2025
                                                                        02/13/25             Entry
                                                                                     Page 10 of 31 ID: 6701022




       are entitled that will diminish under the EO. As in Nebraska and New York, therefore, the State

       plaintiffs have Article III standing. 7

               The defendants have neither disputed the State plaintiffs’ showing of harm nor

       materially distinguished the Chief Justice’s analysis. Their standing challenge hinges on an

       attempt to analogize this case to United States v. Texas. There, the Supreme Court held state

       plaintiffs lacked standing to compel the federal government to pursue more “arrests and

       prosecutions” for violations of immigration laws. 599 U.S. at 678-79. The analogy is inapt. 8

       Texas involved “novel” theories of standing and a “highly unusual” claim that the Executive

       Branch was not sufficiently vigorous in exercising its prosecutorial discretion. Id. at 681, 684.

       This case, however, concerns the bounds of citizenship guaranteed by the Constitution—not an




       7
         The Court does not consider a parens patriae theory of standing, because the State plaintiffs are
       not pursuing it. The State plaintiffs also probably have standing based on their sovereign
       interests. The Citizenship Clause defines which individuals become birthright citizens not only
       of the United States, but also of the state in which they reside. U.S. Const. amend. XIV, § 1.
       States have general sovereign interests in which persons are their citizens. They very likely also
       have sovereign interests in which persons are U.S. citizens, as state laws commonly define civic
       obligations such as jury service using eligibility criteria that include U.S. citizenship. E.g., N.J.
       Stat. Ann. § 2B:20-1(c); Mass. Gen. Laws ch. 234A, § 4. The defendants essentially conceded at
       the motion hearing that the State plaintiffs would have standing under these theories, but
       suggested the theories were “forfeited,” at least “[f]or purposes of deciding [the pending]
       motion[s],” because they were not advanced in the State plaintiffs’ submissions thus far. Mot.
       Hr’g Tr. at 40, 63. The defendants cited no authority for their forfeiture theory. The plaintiffs
       generally endorsed the sovereign-interest theories during the hearing. Given the strength of the
       plaintiffs’ showing of direct financial harms, the Court need not resolve whether the State
       plaintiffs’ sovereign interests supply an alternative basis for satisfying Article III.
       8
         In fact, the defendants’ discussion of Texas in their papers verges on misleading. The language
       upon which they most heavily rely appears in a footnote quoted in their opposition memorandum
       and referenced during the motion hearing. See New Jersey, Doc. No. 92 at 18-19 (quoting
       Texas, 599 U.S. at 680 n.3). Contrary to the defendants’ characterization, that footnote is not a
       “holding,” and it does not “foreclose[]” the State plaintiffs’ standing in this case. Id. Rather, it
       acknowledges that “States sometimes have standing to sue . . . an executive agency or officer,”
       and though it warns that “standing can become more attenuated” when based on “indirect
       effects” of federal action, it stops short of saying such effects could never satisfy Article III. Id.
       This case, in any event, concerns direct effects.
                                                        10


                                                                                                                46
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  48                  Date
                                                                   Filed Filed: 02/18/2025
                                                                         02/13/25             Entry
                                                                                      Page 11 of 31 ID: 6701022




       area typically reserved for executive discretion. The theory of standing advanced by the State

       plaintiffs—direct financial harm—is ordinary. 9 Texas simply does not aid the defendants here.

               The defendants have not challenged the standing of Doe or her co-plaintiffs to sue—nor

       could they. Doe has plainly established injury, to herself and her unborn child, that is concrete,

       imminent, traceable to the EO, and redressable by the relief she seeks in this lawsuit. The same

       is true of the association plaintiffs, which provide services impacted by the EO and have

       described one or more members facing the same type of injury as Doe. See Summers v. Earth

       Island Inst., 555 U.S. 488, 498 (2009) (requiring, for associational standing, “specific allegations

       establishing that at least one identified member had suffered or would suffer harm”); see also

       United Food & Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544, 551-53 (1996)

       (describing test for associational standing).

               Accordingly, the defendants’ standing challenge fails. All plaintiffs before the Court

       have satisfied Article III.

                         2.    Cause of Action

               Next, the defendants assert the Court must deny the pending motions because no plaintiff

       has a valid cause of action under the Citizenship Clause or the identified federal statutes. This is

       meritless.

               As Justice Scalia observed, “[t]he ability to sue to enjoin unconstitutional actions by state

       and federal officers is the creation of courts of equity, and reflects a long history of judicial



       9
         The harms the State plaintiffs have identified are not “indirect”—indeed, when specifically
       asked, the defendants failed to identify any “extra step” separating the loss of funding identified
       by the State plaintiffs from the EO’s direct effects. Mot. Hr’g Tr. at 37-39. Nor do they arise, as
       defendants argue, exclusively from services “the states have voluntarily chosen to provide.”
       New Jersey, Doc. No. 92 at 20; see Plyler v. Doe, 457 U.S. 202, 230 (1982) (holding states are
       required by federal law to provide public education services to all children, regardless of
       immigration status).
                                                         11


                                                                                                               47
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  49               Date
                                                                Filed Filed: 02/18/2025
                                                                      02/13/25             Entry
                                                                                   Page 12 of 31 ID: 6701022




       review of illegal executive action, tracing back to England.” Armstrong v. Exceptional Child

       Ctr., Inc., 575 U.S. 320, 327 (2015). Indeed, the Supreme Court has “long held that federal

       courts may in some circumstances grant injunctive relief” to prevent “violations of federal law”

       planned or committed by “state officers” or “by federal officials.” Id. at 326-27. The plaintiffs

       here ask the Court to do just that. 10

               Limitations that apply where plaintiffs seek damages, rather than equitable relief, have no

       bearing on the claims pending here. See New Jersey, Doc. No. 92 at 24 (citing DeVillier v.

       Texas, 601 U.S. 285, 291 (2024)). Nor can the defendants short-circuit this lawsuit by pointing

       to a narrow provision of the INA providing an avenue for a “national of the United States” to

       challenge discrete denials of rights or privileges. See id. (invoking 8 U.S.C. § 1503(a)). That

       statute does not facially create an exclusive remedy for such claims, nor does it offer an adequate

       alternative to the claims advanced in these actions—including, but not only, because it is not a

       mechanism through which the State plaintiffs can obtain relief. Cf. Rusk v. Cort, 369 U.S. 367,

       375 (1962) (considering related provisions of same statute and concluding they were not

       exclusive means of asserting rights associated with citizenship).

               The defendants’ threshold challenges fail under clear Supreme Court precedent. The

       plaintiffs assert valid causes of action and have standing to pursue them. The Court, therefore,

       turns to the substance of the pending motions.




       10
         In fact, the Department of Justice is doing precisely what it says the plaintiffs cannot do. The
       day before this Court’s motion hearing, the United States sued Illinois and various state and local
       officials, seeking equitable relief via claims brought directly under the Supremacy Clause. See
       Compl., United States v. Illinois, No. 25-cv-1285 (N.D. Ill. Feb. 6, 2025), ECF No. 1; cf. New
       Hampshire v. Maine, 532 U.S. 742, 749-50 (2001) (discussing equitable doctrine of “judicial
       estoppel,” which in some circumstances prevents parties that have taken one legal position from
       reversing course “simply because [their] interests have changed” (cleaned up)). During the
       motion hearing, the State plaintiffs raised this issue, and the defendants offered no response.
                                                        12


                                                                                                             48
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  50                  Date
                                                                   Filed Filed: 02/18/2025
                                                                         02/13/25             Entry
                                                                                      Page 13 of 31 ID: 6701022




                B.    Preliminary Injunction Analysis 11

              The familiar standard governs the plaintiffs’ requests for interlocutory relief. To secure

       the “extraordinary remedy” provided by preliminary injunctions, each group of plaintiffs “must

       establish” that: 1) they are “likely to succeed on the merits,” 2) they are “likely to suffer

       irreparable harm in the absence of preliminary relief,” 3) “the balance of equities tips in [their]

       favor,” and 4) “an injunction is in the public interest.” Winter v. Nat. Def. Res. Council, Inc.,

       555 U.S. 7, 20 (2008).

              “The first two factors of the traditional standard are the most critical.” Nken v. Holder,

       556 U.S. 418, 434 (2009). Courts consider them in tandem. See Vaqueria Tres Monjitas, Inc. v.

       Irizarry, 587 F.3d 464, 485 (1st Cir. 2009) (noting “irreparable harm is not a rigid” factor, but

       rather “a sliding scale, working in conjunction with” the first factor); EEOC v. Astra U.S.A.,

       Inc., 94 F.3d 738, 743 (1st Cir. 1996) (“[W]hen the likelihood of success on the merits is great, a

       movant can show somewhat less in the way of irreparable harm and still garner preliminary

       injunctive relief.”). The third and fourth factors of the injunction test “merge when the

       Government is the opposing party.” Nken, 556 U.S. at 435.



       11
          The defendants proposed, in a footnote, that the Court proceed now to enter or deny a final,
       permanent injunction. See New Jersey, Doc. No. 92 at 50 n.6. The plaintiffs expressed no
       objection to this proposal during the motion hearing, agreeing that the Court could now enter a
       final injunction if it concluded an injunction was warranted. After consideration, the Court
       resolves now only the plaintiffs’ original requests for preliminary relief. The defendants are
       correct that the plaintiffs’ causes of action “are purely legal,” id., but they are wrong to imply
       that facts are immaterial here. The test for injunctive relief requires the plaintiffs to prove, and
       the Court to evaluate, questions of harm that bear on the scope of any permanent relief ultimately
       awarded. Though the defendants have leveled no challenges to the plaintiffs’ factual
       submissions, the Court has an independent duty to ensure that any relief provided is
       appropriately tailored to address the harms established by the parties before it. Cf. DraftKings
       Inc. v. Hermalyn, 118 F.4th 416, 423 (1st Cir. 2024) (noting trial judge is “uniquely placed to
       design” injunctive relief that corresponds to “specific harm” proven based on facts found by
       judge). To that end, further factual development may be required before the Court crafts a final
       judgment.
                                                         13


                                                                                                              49
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  51                 Date
                                                                  Filed Filed: 02/18/2025
                                                                        02/13/25             Entry
                                                                                     Page 14 of 31 ID: 6701022




              Measured against these standards, the plaintiffs’ submissions support entry of the

       injunctions they seek, with only minor adjustments explained below.

                        1.    Likelihood of Success

              “The sine qua non of th[e] four-part inquiry” governing motions for preliminary

       injunctions is the first factor: “likelihood of success on the merits.” New Comm Wireless Servs.,

       Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002). This factor weighs strongly in the

       plaintiffs’ favor. The plain language of the Citizenship Clause—as interpreted by the Supreme

       Court more than a century ago and routinely applied by all branches of government since then—

       compels a finding that the plaintiffs’ challenges to the EO are nearly certain to prevail.

              The Citizenship Clause speaks in plain and simple terms. “All persons born or

       naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the United

       States and of the State wherein they reside.” U.S. Const. amend. XIV, § 1. The words chosen by

       the drafters and ratified by the states, understood “in their normal and ordinary” way, United

       States v. Sprague, 282 U.S. 716, 731 (1931), bestow birthright citizenship broadly to persons

       born in the United States. The text is directed at the person born (or naturalized). It does not

       mention the person’s parents at all, let alone expressly condition its grant of citizenship on any

       characteristic of the parents. So, at the outset, the EO and its focus on the immigration status of a

       child’s parents find no support in the text.

              One phrase in the Citizenship Clause is at the heart of the parties’ disagreement. The

       constitutionality of the EO, and the success of the plaintiffs’ claims, turns on the meaning of

       “subject to the jurisdiction thereof.” To understand that phrase, however, this Court need look

       no further than United States v. Wong Kim Ark, 169 U.S. 649 (1898). 12 In that case, the


       12
         In a line of cases not directly relevant here, courts have considered whether a person born in an
       unincorporated territory of the United States—such as American Samoa or, for a time, the
                                                        14


                                                                                                               50
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  52                 Date
                                                                  Filed Filed: 02/18/2025
                                                                        02/13/25             Entry
                                                                                     Page 15 of 31 ID: 6701022




       Supreme Court meticulously reviewed the contours of citizenship under English and early

       American common law, under the 1866 Civil Rights Act and the Fourteenth Amendment, and as

       reflected in legal scholarship and court decisions in the decades leading up to the turn of the

       twentieth century. See generally id. at 653-704. From these sources, the Supreme Court

       concluded that “subject to the jurisdiction thereof” was meant “to exclude, by the fewest and

       fittest words,” the following categories of persons: “children of members of the Indian tribes,”

       “children born of alien enemies in hostile occupation, and children of diplomatic representatives

       of a foreign state.” 13 Id. at 682. As to all other persons, “the fundamental rule of citizenship by

       birth within the dominion of the United States, notwithstanding alienage of parents,” applied. Id.

       at 689. 14

               Applying this longstanding and “fundamental rule of citizenship,” the Supreme Court

       held that the petitioner—born in the United States to Chinese-citizen parents, who were living

       and working in the United States at the time of the child’s birth, but who were prevented by law

       from naturalizing and eventually returned to China—was a citizen “by virtue of the



       Philippines—was born “in the United States” for purposes of the Citizenship Clause. E.g.,
       Tuaua v. United States, 788 F.3d 300, 302 (D.C. Cir. 2015). That language is not the focus of
       the present dispute, nor was it the Supreme Court’s focus in Wong Kim Ark.
       13
          Neither the EO nor the defendants’ brief has suggested that all (or any) persons within the
       EO’s categories are “children born of alien enemies in hostile occupation,” specified which
       portions of the country are presently so occupied, or identified which foreign powers or
       organizations are the “enemies” presently controlling those areas. See New Jersey, Doc. No. 92
       at 38 (quoting another Executive Order and summarily stating that plaintiffs’ view might grant
       citizenship to children of “unlawful enemy combatants who enter this country in an effort to
       create sleeper cells or other hostile networks”). Accordingly, the Court need not consider this
       exception to birthright citizenship.
       14
          This rule has been reiterated by the Supreme Court. See, e.g., Perkins v. Elg, 307 U.S. 325,
       329 (1939) (citing Wong Kim Ark majority’s “comprehensive review” supporting “decision . . .
       that a child born here of alien parentage becomes a citizen of the United States”); Weedin v.
       Chin Bow, 274 U.S. 657, 660, 670 (1927) (stating “learned and useful opinion” of Wong Kim
       Ark majority “held that . . . one born in the United States, although . . . of a parentage denied
       naturalization under the law, was nevertheless . . . a citizen” under Fourteenth Amendment).
                                                        15


                                                                                                              51
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  53                  Date
                                                                   Filed Filed: 02/18/2025
                                                                         02/13/25             Entry
                                                                                      Page 16 of 31 ID: 6701022




       [C]onstitution itself.” Wong Kim Ark, 169 U.S. at 652-53, 703-05. This holding followed

       “irresistibly” from the extensive analysis the majority articulated. Id. at 693. Throughout that

       analysis, the availability of birthright citizenship “irrespective of parentage” was repeatedly

       emphasized. E.g., id. at 690. The duration of the parents’ residency in the United States was not

       assessed, nor did laws preventing the parents from seeking naturalization influence the Court’s

       determination of the petitioner’s status. The question was resolved, for purposes of the

       Citizenship Clause, by the location of the petitioner’s birth, and the inapplicability of the narrow

       exceptions to birthright citizenship that had been identified by the Court. Understood this way—

       indeed, the way all branches of government have understood the decision for 125 years—Wong

       Kim Ark leaves no room for the defendants’ proposed reading of the Citizenship Clause. Of

       course, the defendants can seek to revisit this long-settled rule of law, but that is a matter for the

       Supreme Court, not a district judge.

              The defendants accept that this Court is bound by the prior holdings of the Supreme

       Court. See New Jersey, Doc. No. 92 at 44; Mot. Hr’g Tr. at 48. Nevertheless, they urge the

       Court to essentially ignore all but a handful of sentences from Wong Kim Ark, arguing the bulk

       of the majority’s lengthy opinion is dicta. See New Jersey, Doc. No. 92 at 44 (urging Wong Kim

       Ark resolved only whether Citizenship Clause extended to “children of parents with ‘a

       permanent domicile and residence in the United States,’” and that “[t]he case should not be read

       as doing anything more than answering that question” (quoting 169 U.S. at 653)). At the motion

       hearing, the defendants doubled down on this point, brazenly claiming that “dicta can be

       disregarded.” Mot. Hr’g Tr. at 75. That position reflects a serious misunderstanding at best—

       and a conscious flouting at worst—of the judicial process and the rule of law.




                                                         16


                                                                                                                52
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  54                    Date
                                                                     Filed Filed: 02/18/2025
                                                                           02/13/25             Entry
                                                                                        Page 17 of 31 ID: 6701022




               Lower federal courts are not merely obligated to apply the holdings of Supreme Court

       decisions; they also “are bound by the Supreme Court’s ‘considered dicta.’” United Nurses &

       Allied Prof’ls v. NLRB, 975 F.3d 34, 40 (1st Cir. 2020) (quoting McCoy v. Mass. Inst. of Tech.,

       950 F.2d 13, 19 (1st Cir. 1991)). “Carefully considered statements of the Supreme Court, even if

       technically dictum, must be accorded great weight and should be treated as authoritative

       when . . . badges of reliability abound.” United States v. Santana, 6 F.3d 1, 9 (1st Cir. 1993). If

       such a statement “bears the earmarks of deliberative thought purposefully expressed,” concerns

       an issue that was “thoroughly debated in the recent past,” and “has not been diluted by any

       subsequent pronouncement” of the Supreme Court, a lower federal court must adhere to it. Id.

               To the extent the thorough analysis in Wong Kim Ark of the Fourteenth Amendment’s

       common-law foundations, the purpose and intent of its drafters, and its application during the

       first thirty years after its ratification can be called “dicta” at all, it is undoubtedly the

       “considered” and “authoritative” sort that this Court is bound to apply. The sheer detail and

       length of the discussion by the Court’s majority make this plain. Add to that the fact that the

       opposite view—the one the defendants advance to justify the EO—was rejected by the majority

       in Wong Kim Ark (in the portions of the decision now labeled “dicta” by the defendants) and

       endorsed only by the dissent. See 169 U.S. at 705-32. The plaintiffs are not relying on a stray

       “remark” that lacks “care and exactness,” standing “wholly aside from the question in judgment”

       and “unsupported by any argument, or by any reference to authorities,” that might not “control

       the judgment” of a lower court. 169 U.S. at 678. They are “leaning into” the central reasoning

       of the Supreme Court in support of its holding. Mot. Hr’g Tr. at 48. The defendants’ argument

       to the contrary invites the Court to commit legal error.




                                                           17


                                                                                                               53
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  55               Date
                                                                Filed Filed: 02/18/2025
                                                                      02/13/25             Entry
                                                                                   Page 18 of 31 ID: 6701022




              Whether “holding” or “considered dicta,” the straightforward rule and limited exceptions

       identified in Wong Kim Ark and summarized above have been applied repeatedly and without

       hesitation, including by the Supreme Court and the First Circuit. For example:

          •   In Morrison v. California, despite statutes that then rendered Japanese persons
              “ineligible” for citizenship via naturalization, the Supreme Court stated without
              qualification: “A person of the Japanese race is a citizen of the United State if he was
              born within the United States.” 291 U.S. 82, 85 (1934).

          •   In Dos Reis ex rel. Camara v. Nicolls, the First Circuit described a person “born in
              Massachusetts” as having become “an American citizen, not by gift of Congress, but by
              force of the constitution,” despite his parents’ status as foreign nationals “never
              naturalized in the United States,” and despite his own “dual nationality” that led to his
              “service as a draftee in the Portuguese army.” 161 F.2d 860, 861-62 (1st Cir. 1947).

          •   In Kawakita v. United States, a person “born in this country in 1921 of Japanese parents
              who were citizens of Japan” was “a citizen of the United States by birth”—a status the
              person did not lose despite later committing treason by acts of cruelty undertaken while
              working at a Japanese camp for American prisoners during World War II. 343 U.S. 717,
              720 (1952). See also Nishikawa v. Dulles, 356 U.S. 129, 131 (1958) (finding Japanese
              military service during World War II was basis for expatriation of U.S.-born citizen of
              Japanese-citizen parents only if service was voluntary); Hirabayashi v. United States, 320
              U.S. 81, 96-97 (1943) (noting, in context of World War II, that tens of thousands of
              “persons of Japanese descent” living on Pacific coast “are citizens because born in the
              United States,” even though “under many circumstances” they also were citizens of Japan
              “by Japanese law”).

          •   In United States ex rel. Hintopoulous v. Shaughnessy, all members of the Supreme Court
              considered a child born to foreigners, both of whom had entered the U.S. with temporary
              permission but remained after their authorization expired, to be “of course[] an American
              citizen by birth,” despite the parents’ “illegal presence.” 353 U.S. 72, 73 (1957); see id.
              at 79 (reflecting dissent’s agreement that the child was a citizen).

          •   In INS v. Errico, two different children “acquired United States citizenship at birth”
              despite their parents having gained admission to this country by misrepresenting material
              facts about themselves and thereby evading statutory restrictions on lawful immigration.
              385 U.S. 214, 215-16 (1966).

          •   In INS v. Rios-Pineda, a unanimous Supreme Court viewed a child “born in the United
              States” as “a citizen of this country,” even though the father had entered the country
              “illegally” on his own and “returned to Mexico . . . under threat of deportation”; both
              parents had then “paid a professional smuggler . . . to transport them” across the border;
              and the father, when apprehended again, had failed to depart voluntarily “as promised.”
              471 U.S. 444, 446 (1985).


                                                       18


                                                                                                            54
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  56                  Date
                                                                   Filed Filed: 02/18/2025
                                                                         02/13/25             Entry
                                                                                      Page 19 of 31 ID: 6701022




            •   In Hamdi v. Rumsfeld, at least six Justices treated the petitioner as a citizen of the United
                States based on his birth in Louisiana, without even discussing his parents’ status (they
                were present lawfully but temporarily), despite the petitioner’s active participation in a
                foreign terrorist organization. 542 U.S. 507, 510 (2004). 15

            •   In Mariko v. Holder, a panel of the First Circuit considered a child “born in the United
                States” to be “a United State citizen” despite the parents’ concession that both of them
                “were here illegally” and therefore removable. 632 F.3d 1, 3, 8 n.4 (1st Cir. 2011).

            •   In Hasan v. Holder, a different panel of the First Circuit similarly viewed as “a U.S.
                citizen” a child born in California to foreign-national parents who had overstayed their
                nonimmigrant visas. 673 F.3d 26, 28 & n.1 (1st Cir. 2012).

       This line of decisions—which is not limited to the cases described above—further undermines

       the defendants’ proposed interpretation. 16

                If that were not enough to find that the plaintiffs are likely to succeed on the merits (and

       it is), the fact that Congress incorporated the language of the Citizenship Clause into provisions

       of the INA passed more than forty years after Wong Kim Ark cements the meaning of the

       disputed phrase and provides the plaintiffs an independent avenue to prevailing here. In the

       INA, Congress conferred birthright citizenship via statute on several categories of individuals,

       the first of which is described using language mirroring the Citizenship Clause. 8 U.S.C.



       15
          Justice Scalia, joined by Justice Stevens, referred to Hamdi as a “presumed American citizen.”
       542 U.S. at 554 (Scalia, J., dissenting); see Hamdi v. Rumsfeld, 243 F. Supp. 2d 527, 534 (E.D.
       Va. 2002) (noting Hamdi had “identified himself as a Saudi citizen who had been born in the
       United States” when detained and interrogated by the American military). No justice took up the
       invitation of one amicus in the case to revisit the meaning of the Citizenship Clause, correct the
       “erroneous interpretation” adopted in Wong Kim Ark, and conclude Hamdi was not a citizen
       because his parents, though living in Louisiana lawfully at the time of his birth, had only
       temporary work visas authorizing their presence in this country. See Br. Amicus Curiae The
       Claremont Inst. Ctr. Const. Jurisprudence at 2-3, 5, Hamdi v. Rumsfeld, No. 03-6696, 2004 WL
       871165 (U.S. Mar. 29, 2004).
       16
          So does the fact that the Supreme Court has cited Wong Kim Ark as an example of how to
       properly assess the original meaning of language in the Constitution or a federal statute. See
       Standard Oil Co. v. United States, 221 U.S. 1, 59 & n.6 (1911); cf. BNSF Ry. Co. v. Loos, 586
       U.S. 310, 329 (2019) (Gorsuch, J., dissenting) (citing Wong Kim Ark majority opinion as
       authority reflecting “everyone agrees” that “record of enacted changes Congress made” to
       relevant text “over time” is “textual evidence” that “can sometimes shed light on meaning”).
                                                         19


                                                                                                                55
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  57                 Date
                                                                  Filed Filed: 02/18/2025
                                                                        02/13/25             Entry
                                                                                     Page 20 of 31 ID: 6701022




       § 1401(a) (confirming citizenship of “a person born in the United States, and subject to the

       jurisdiction thereof”). As the plaintiffs point out, this provision was enacted in 1940 and “re-

       codified” in 1952. See Doe, Doc. No. 33 at 2; see also Doe, Doc. No. 11 at 15 (raising statutory

       claim and advancing brief but distinct argument about likelihood of success thereunder).

       Because it uses the same language chosen by the Fourteenth Amendment’s drafters—words that

       had been studied in Wong Kim Ark decades earlier—the statute must be understood to have

       incorporated the Supreme Court’s interpretation of those words. See Bostock v. Clayton Cnty.,

       590 U.S. 644, 654 (2020) (explaining statute “normally” is interpreted “in accord with the

       ordinary public meaning of its terms at the time of its enactment”). 17

              Here, the fundamental rule conveyed by the Citizenship Clause was clear by the time

       § 1401 was enacted, and the legislators who chose to include the same phrase the Supreme Court

       already had examined presumably intended the same words would be accorded the same

       meaning in both contexts. See Taggart v. Lorenzen, 587 U.S. 554, 560 (2019) (recognizing

       “longstanding interpretive principle” that if statutory term “is obviously transplanted from

       another legal source, it brings the old soil with it” (cleaned up)). Thus, the statute supports a

       related but distinct claim upon which the plaintiffs are likely to succeed. 18




       17
           Justice Gorsuch went on to explain why this is so: “If judges could add to, remodel, update, or
       detract from old statutory terms inspired only by extratextual sources and our own imaginations,
       . . . we would deny the people the right to continue relying on the original meaning of the law
       they have counted on to settle their rights and obligations.” Bostock, 590 U.S. at 654-55.
       18
           The defendants advance no separate challenge to the plaintiffs’ statutory claim, choosing to
       “focus . . . on the constitutional provision” which is “coterminous” with the statute. New Jersey,
       Doc. No. 92 at 25 n.4. By opting not to address the statute, or the manner in which its enactment
       necessarily strengthens the plaintiffs’ interpretation of the relevant language, the defendants have
       waived any discrete argument related to the statutory claim for purposes of the pending motions.
       Cf. United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990) (applying “settled appellate rule that
       issues adverted to in a perfunctory manner, unaccompanied by some effort at developed
       augmentation, are deemed waived”).
                                                         20


                                                                                                              56
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  58                 Date
                                                                  Filed Filed: 02/18/2025
                                                                        02/13/25             Entry
                                                                                     Page 21 of 31 ID: 6701022




              Beyond sidestepping Wong Kim Ark, the defendants urge the Court to read three specific

       requirements into the phrase “subject to the jurisdiction thereof.” The defendants contend these

       requirements are necessary to ensure adherence to the phrase’s original meaning. None of these

       requirements, however, find support in the text itself or the cases construing and applying it.

       And, more importantly, each of them, if applied as argued, would prevent the Citizenship Clause

       from reaching groups of persons to whom even the defendants concede it must apply.

              First, the defendants suggest the “jurisdiction” phrase is satisfied only by persons who

       owe the United States “allegiance” that is “direct,” “immediate,” “complete,” and “unqualified

       by allegiance to any alien power.” New Jersey, Doc. No. 92 at 27-28 (cleaned up). Certainly,

       allegiance matters. Various sources link the “jurisdiction” phrase and concepts of allegiance,

       including Wong Kim Ark. See, e.g., 169 U.S. at 654 (noting English common law provided

       citizenship to those “born within the king’s allegiance, and subject to his protection”). The

       defendants veer off course, however, by suggesting allegiance must be exclusive, and that it

       derives from the status of a child’s parents. If that were so, then the children of dual citizens or

       LPRs could not receive birthright citizenship via the Fourteenth Amendment. A dual citizen

       necessarily bears some allegiance to both the United States and the second nation of which they

       are a citizen. LPRs, unless and until naturalized, remain foreign nationals who are citizens of

       other countries bearing some allegiance to their places of origin. This principle would also rule

       out the petitioner in Wong Kim Ark, whose parents resided for years in the United States but

       remained “subjects of the emperor of China” (and, indeed, returned to China when their U.S.-

       born son was a teenager). 169 U.S. at 652-53. The defendants, however, agree that children of

       dual citizens and LPRs are entitled to birthright citizenship, and that the petitioner in Wong Kim

       Ark was as well.



                                                        21


                                                                                                              57
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  59                  Date
                                                                   Filed Filed: 02/18/2025
                                                                         02/13/25             Entry
                                                                                      Page 22 of 31 ID: 6701022




              These anomalies are avoided by focusing on the allegiance of the child, not the parents.

       As noted earlier, the Citizenship Clause itself speaks only of the child. A child born in the

       United States necessarily acquires at birth the sort of allegiance that justified birthright

       citizenship at the common law. That is, they are born “locally within the dominions of” the

       United States and immediately “derive protection from” the United States. Id. at 659. A child

       born here is both entitled to the government’s protection and bound to adhere to its laws. This is

       true regardless of the characteristics of the child’s parents, subject only to the narrow exceptions

       identified in Wong Kim Ark. Allegiance, in this context, means nothing more than that. See id.

       at 662 (“Birth and allegiance go together.”). As James Madison explained:

              It is an established maxim that birth is a criterion of allegiance. Birth however
              derives its force sometimes from place and sometimes from parentage, but in
              general place is the most certain criterion; it is what applies in the United States; it
              will be therefore unnecessary to investigate any other.

       Founders Online, Citizenship, Nat’l Archives (May 22, 1789), https://founders.archives.gov

       /documents/Madison/01-12-02-0115 [https://perma.cc/ZC4B-NS9R]. So, “allegiance” does not

       mean what the defendants think it means, and their first proposed rule founders. 19

              Next, the defendants seek to graft concepts of social-contract theory onto the

       “jurisdiction” clause of the Fourteenth Amendment by arguing birthright citizenship requires

       “mutual consent between person and polity.” New Jersey, Doc. No. 92 at 45. The defendants

       again center their argument on the parents at the expense of the child whose birthright is at

       stake—perhaps, in part, because infants are incapable of consent in the legal sense. In the



       19
         To the extent the defendants believe temporary, lawful visitors to this country are people who
       “do not owe an allegiance to the United States,” Mot. Hr’g Tr. at 55, the Supreme Court
       disagrees, see Wong Kim Ark, 169 U.S. at 685 (quoting Schooner Exchange v. McFaddon, 11
       U.S. (7 Cranch) 116, 144 (1812), and its description of the “temporary and local allegiance”
       private visitors from other countries owe the United States while passing through or doing
       business here).
                                                         22


                                                                                                              58
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  60                Date
                                                                 Filed Filed: 02/18/2025
                                                                       02/13/25             Entry
                                                                                    Page 23 of 31 ID: 6701022




       defendants’ view, mutual consent is lacking where a person (the parent) has entered the United

       States without permission to do so, or without permission to remain here permanently. The

       absence of “mutual consent” in those circumstances means, according to the defendants, that the

       children of such parents fall beyond the “jurisdiction” of the United States for Fourteenth

       Amendment purposes.

              This argument fares even worse than the first. The Fourteenth Amendment enshrined in

       the Constitution language ensuring “the fundamental principle of citizenship by birth” in the

       United States applied regardless of race—including, and especially, to formerly enslaved

       persons. 169 U.S. at 675; see Afroyim v. Rusk, 387 U.S. 253, 262-63 (1967). The defendants

       do not (and could not) deny this. Enslaved persons, of course, did not “consent” to come to the

       United States or to remain here. They were brought here violently, in chains, without their

       consent. These conditions persisted after their arrival. Against this backdrop, it verges on

       frivolous to suggest that Congress drafted, debated, and passed a constitutional amendment,

       thereafter enacted by the states, that imposed a consent requirement necessarily excluding the

       one group of people the legislators and enactors most specifically intended to protect.

              Finally, the defendants seek to transform the use of the term “reside” at the end of the

       Citizenship Clause into a basis for finding that the “jurisdiction” phrase eliminates any person

       without a lawful “domicile” in the United States. The defendants contend that persons here with

       temporary visas retain “domiciles” in their native countries, and persons here without lawful

       status cannot establish a true “domicile.” And so, the argument goes, they cannot “reside” in any

       state, and they remain outside the “jurisdiction” of the United States for Fourteenth Amendment

       purposes. This, once again, shifts the focus away from the child and the location of birth to the

       parents and the status and duration of their presence in this country.



                                                        23


                                                                                                           59
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  61                  Date
                                                                   Filed Filed: 02/18/2025
                                                                         02/13/25             Entry
                                                                                      Page 24 of 31 ID: 6701022




               The word “reside” appears in the Citizenship Clause only in the phrase specifying that a

       person entitled to birthright citizenship becomes a citizen not only of the United States, but also

       of the state where they live. For example, a state within the former Confederacy (or any other

       state) could not constitutionally deny state citizenship to the child of a formerly enslaved person

       who lived and gave birth there. The word “reside” does not inject a “domicile” requirement

       limiting the reach of the Citizenship Clause as a whole and justifying examination of the

       immigration status of a child’s parents. See New Jersey, Doc. No. 123 at 11-12 (articulating the

       flaws in this theory). In any event, it is not so clear that “illegal entry into the country

       would . . . , under traditional criteria, bar a person from obtaining domicile within a State.”

       Plyler, 457 U.S. at 227 n.22.

               In sum, the defendants invite the Court to adopt a set of rules that work (except when

       they don’t). None of the principles the defendants advance are sturdy enough to overcome the

       settled interpretation and longstanding application of the Citizenship Clause described above.

       Each principle, applied uniformly, would lead to unintended results at odds with the text,

       meaning, and intent of the Fourteenth Amendment—and, in some instances, with the parameters

       set out in the EO itself.

               For all these reasons, the Court finds the plaintiffs are exceedingly likely to prevail on the

       merits of their constitutional and statutory claims. This conclusion would allow the plaintiffs to

       “show somewhat less in the way of irreparable harm.” Astra U.S.A., 94 F.3d at 743. That

       relaxed burden, however, is not essential, as the second factor also favors the plaintiffs strongly.

                         2.    Irreparable Harm

               The plaintiffs have supported their assertions of irreparable harm with numerous

       declarations detailing the imminent and damaging impacts they anticipate will flow from the EO.



                                                         24


                                                                                                                60
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  62                 Date
                                                                  Filed Filed: 02/18/2025
                                                                        02/13/25             Entry
                                                                                     Page 25 of 31 ID: 6701022




       See Doe, Doc. Nos. 11-1 to -10; New Jersey, Doc. Nos. 5-2 to -21, -23. 20 Upon review, the

       Court accepts and credits those declarations, which the defendants have not disputed or rebutted

       in any way. The declarations establish that the State plaintiffs do not stand to lose discrete

       amounts of one-time funds; they face unpredictable, continuing losses coupled with serious

       administrative upheaval. They have established irreparable harm.

              As for the Doe plaintiffs, what is at stake is a bedrock constitutional guarantee and all of

       its attendant privileges. The loss of birthright citizenship—even if temporary, and later restored

       at the conclusion of litigation—has cascading effects that would cut across a young child’s life

       (and the life of that child’s family), very likely leaving permanent scars. The record before the

       Court establishes that children born without a recognized or lawful status face barriers to

       accessing critical healthcare, among other services, along with the threat of removal to countries

       they have never lived in and possible family separation. 21 That is irreparable harm. 22




       20
          Not every State plaintiff has submitted its own declarations, but the complaint alleges that all
       face the same categories of harm. E.g., New Jersey, Doc. No. 1 ¶ 122. The record supports that
       allegation, for example, by reflecting that each official attesting to health-insurance-related
       impacts describes the same federal programs used the same way and forecasts the loss of the
       same types of federal reimbursements. See, e.g., Doc. Nos. 5-2, -6, -11, -12, -16, -19. At this
       stage, that is enough to find that all State plaintiffs would suffer irreparable harm absent
       injunctive relief. The defendants do not contend otherwise.
       21
          Doe, for example, has a pending asylum petition and an older child who is a U.S. citizen by
       birthright—assuming the defendants do not later reconsider the effective date contained in the
       EO and opt to apply their reading of the Citizenship Clause retroactively, a possibility they did
       not definitively rule out during the motion hearing. Mot. Hr’g Tr. at 45-47. Her family would be
       placed at a distressing crossroads if her new baby were to face removal from the country.
       22
          The defendants’ only responses are to suggest that the plaintiffs wait and see how the EO will
       be implemented, and hope that Doe’s asylum application is granted. Or, in the worst case, “if
       any removal action were initiated against the children of any of the private plaintiffs at issue in
       this case, the [child] subject of the action could assert their claim to citizenship as defense in that
       proceeding.” New Jersey, Doc. No. 92 at 48. That answer is not persuasive. Cf. Texas v.
       EEOC, 933 F.3d 433, 448 & n.29 (5th Cir. 2019) (stating “it would strain credulity to find that
       an agency action targeting” conduct the agency has deemed “presumptively unlawful” would not
       trigger implementation “immediately enough to constitute” nonspeculative injury).
                                                         25


                                                                                                                 61
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  63                   Date
                                                                    Filed Filed: 02/18/2025
                                                                          02/13/25             Entry
                                                                                       Page 26 of 31 ID: 6701022




               The plaintiffs in both cases have shown they are likely to suffer substantial and

       irreparable harm in the absence of a preliminary injunction. Thus, the two most important

       factors strongly favor the plaintiffs.

                         3.    Balance of Harms and Public Interest

               The final merged factors also support the plaintiffs’ requests for relief. On the plaintiffs’

       side of the scales, there is a grave risk of significant and irreparable harm arising from the EO.

       Children not yet born will be stripped of birthright citizenship constitutionally guaranteed to

       them, as confirmed by settled law and practice spanning more than a dozen decades. They will

       be deprived of a “title” that is, as “Justice Brandeis observed, . . . superior to the title of

       President.” Tuaua, 788 F.3d at 301. And that harm will arise from an EO that is unconstitutional

       on its face—an assessment that has now been echoed by multiple federal courts in different

       jurisdictions. E.g., Prelim. Inj. Order at 6, N.H. Indonesian Cmty. Support v. Trump, No. 25-cv-

       38 (D.N.H. Feb. 11, 2025), ECF No. 79.

               It is difficult to imagine a government or public interest that could outweigh the harms

       established by the plaintiffs here. Perhaps that is why the defendants have identified none.

       Instead, they point only to the Executive Branch’s discretion in matters of immigration. New

       Jersey, Doc. No. 92 at 49. But this case is not about how “to manage the immigration system.”

       Id. It is about the Constitution’s guarantee of citizenship by virtue of birth. When this right was

       enshrined in the Fourteenth Amendment, it was moved firmly beyond the bounds of the “core

       executive authority” the defendants invoke. Id.; see Afroyim, 387 U.S. at 263 (noting framers of

       Fourteenth Amendment “wanted to put citizenship beyond the power of any governmental unit

       to destroy”). The defendants’ only argument, therefore, adds nothing to their side of the scales.

               Though the government has waived any other arguments on these final factors by not

       developing them in their opposition memorandum, see Zannino, 895 F.2d at 17, the Court makes
                                                          26


                                                                                                               62
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  64                 Date
                                                                  Filed Filed: 02/18/2025
                                                                        02/13/25             Entry
                                                                                     Page 27 of 31 ID: 6701022




       two more observations. First, the government has no legitimate interest in pursuing

       unconstitutional agency action; “it is always in the public interest to prevent the violation of a

       party’s constitutional rights.” Dorce v. Wolf, 506 F. Supp. 3d 142, 145 (D. Mass. 2020) (cleaned

       up); accord League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). Second, an

       injunction will do no more than maintain a status quo that has been in place for well over a

       century. The defendants have not even attempted to demonstrate how they or the public will be

       harmed by continuing, for the duration of this action, to adhere to the interpretation of birthright

       citizenship that has been consistently applied by the Executive Branch throughout that time

       period—including under this President during his first term in office.

              The scales tip decisively toward the plaintiffs. Because all factors favor entry of

       injunctive relief, the Court ends by explaining the appropriate parameters of such relief.

                C.      Scope of Injunction

              Both sets of plaintiffs ask the Court to universally enjoin the defendants from

       implementing the EO. That is, they seek an order that prevents the defendants from applying the

       EO not only to them—to Doe, to members of the plaintiff associations, and to the State

       plaintiffs—but at all, to anyone, anywhere. Orders like those the plaintiffs seek here have

       become “increasingly common” over the last twenty years. Dep’t of Homeland Sec. v. New

       York, 140 S. Ct. 599, 600 (2020) (mem.) (Gorsuch, J., concurring in grant of stay); see generally

       Developments in the Law—District Court Reform: Nationwide Injunctions, 137 Harv. L. Rev.

       1701, 1703-15 (2024) (quantifying rise in such injunctions and examining consequences). That

       trend raises meaningful concerns about the appropriate scope of a single district judge’s

       equitable powers. See Trump v. Hawaii, 585 U.S. 667, 713-21 (2018) (Thomas, J., concurring)

       (examining reasons to be “skeptical that district courts have the authority to enter universal

       injunctions”).
                                                        27


                                                                                                              63
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  65                  Date
                                                                   Filed Filed: 02/18/2025
                                                                         02/13/25             Entry
                                                                                      Page 28 of 31 ID: 6701022




               Alluding to such concerns, the defendants urge the Court to enter relief that is limited in

       scope. New Jersey, Doc. No. 92 at 49-50. Though the defendants have not proposed specific

       terms, two of the limitations they urge merit consideration. 23 First, the defendants argue “the

       Court should limit any relief to any party before it that is able to establish an entitlement to

       preliminary injunctive relief.” Id. at 50. As explained above, the Court has concluded all

       plaintiffs are so entitled. But that conclusion does not alone justify relief that is universal in

       scope. The Court still must confront the general principle that injunctive relief should be tailored

       to the parties before it. Cf. Califano v. Yamasaki, 442 U.S. 682, 702 (1979) (noting “injunctive

       relief should be no more burdensome . . . than necessary to provide complete relief to the

       plaintiffs”). Here, the Court finds this principle leads to different results for the two sets of

       plaintiffs.

               For Doe and the members of the two plaintiff organizations, the record before the Court

       does not demonstrate that universal relief is necessary to “provide complete relief to,” and

       protect the rights of, those parties. An injunction that prevents the defendants and their agents

       from implementing and applying the EO against Doe or any member of either plaintiff

       organization suffices to protect them from harm during the pendency of this lawsuit. The record

       does not establish how awarding similar relief to other persons or organizations that are not

       parties to this lawsuit is necessary to provide complete relief to the Doe plaintiffs.




       23
          The third, which urges the Court to reject any facial challenge to the EO and require
       “individual as-applied challenges,” can be rejected out of hand. The plaintiffs have advanced
       substantial facial challenges that the Court has deemed likely to succeed. The defendants do not
       explain how their third proposal, which is supported only by a citation to general language from
       a criminal case in which injunctive relief was not at issue, has anything to do with the scope of
       injunctive relief. See New Jersey, Doc. No. 92 at 50.
                                                         28


                                                                                                              64
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  66                  Date
                                                                   Filed Filed: 02/18/2025
                                                                         02/13/25             Entry
                                                                                      Page 29 of 31 ID: 6701022




               Different considerations arise as to the State plaintiffs. They have identified harms that

       do not hinge on the citizenship status of one child, or even of all children born within their

       borders. The harms they have established stem from the EO’s impact on the citizenship status—

       and the ability to discern or verify such status—for any child located or seeking various services

       within their jurisdiction. For example, Massachusetts will suffer the identified harms not only if

       children born and living there are unlawfully denied citizenship, but also if a pregnant woman

       living in the northeastern part of the Commonwealth gives birth across the border in a nearby

       New Hampshire hospital, or if a family moves to Massachusetts from Pennsylvania (or any other

       state that has not joined this lawsuit) after welcoming a new baby. These examples illustrate

       why injunctive relief limited to the State plaintiffs is inadequate. In both, children born in states

       that are not parties to this lawsuit (such as New Hampshire and Pennsylvania) would

       theoretically lack birthright citizenship even after returning or moving to—and seeking various

       services in—a state that is among the plaintiffs here.

               That result not only fails in providing complete relief to the State plaintiffs, but also risks

       creating a new set of constitutional problems. See Saenz v. Roe, 526 U.S. 489, 500-04 (1999)

       (identifying as component of “right to travel” protected by Fourteenth Amendment “the right of

       the newly arrived citizen to the same privileges and immunities enjoyed by other citizens of the

       same State”). For the State plaintiffs, then, universal or nationwide relief is necessary to prevent

       them from suffering irreparable harm. Cf. Trump v. Int’l Refugee Assistance Project, 582 U.S.

       571, 579-83 (2017) (narrowing in part but upholding in part injunction that protected nonparties

       similarly situated to the plaintiffs).




                                                         29


                                                                                                                 65
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  67                 Date
                                                                  Filed Filed: 02/18/2025
                                                                        02/13/25             Entry
                                                                                     Page 30 of 31 ID: 6701022




              Only one issue remains. The defendants assert the Court may not enjoin the President. 24

       New Jersey, Doc. No. 92 at 50. The Doe plaintiffs offer no response to this point, see generally

       Doe, Doc. No. 33, but the State plaintiffs disagree in a footnote citing instances where executive

       orders have been enjoined, see New Jersey, Doc. No. 123 at 15 n.8. Assuming without deciding

       that this Court is empowered to issue an injunction directly constraining the President’s actions

       in any set of circumstances, nothing in the record suggests such relief is necessary here. The

       President has signed the EO. No further action by him is described by the EO or predicted by the

       plaintiffs. Other officers and agencies within the Executive Branch are responsible for

       implementing the EO, and it is their conduct that the plaintiffs really seek to restrain. Thus, for

       purposes of the preliminary injunction, the relief will be awarded against all other defendants

       besides the President, and against any other officers or agents acting on behalf of the President,

       but not against the President himself. 25

       III.   CONCLUSION

              “What the Constitution has conferred neither the Congress, nor the Executive, nor the

       Judiciary, nor all three in concert, may strip away.” Nishikawa, 356 U.S. at 138 (Black, J.,

       concurring). Here, the Constitution confers birthright citizenship broadly, including to persons

       within the categories described in the EO. Under the plain language of the Citizenship Clause

       and the INA provision that later borrowed its wording, and pursuant to binding Supreme Court

       precedent, the Court concludes that the plaintiffs’ constitutional and statutory challenges to the

       EO are likely to prevail, the plaintiffs face serious and irreparable harm in the absence of relief,


       24
          They also suggest the Court should dismiss the President as a defendant, New Jersey, Doc. No.
       92 at 50, but a request like that is properly advanced in a motion (not an opposition brief), after
       conferral and in compliance with the Local Rule governing motion practice in this Court. See
       generally L.R. 7.1.
       25
          Should circumstances arise that merit reconsideration of this aspect of the injunction, the
       plaintiffs may bring them to the Court’s attention via an appropriate motion.
                                                        30


                                                                                                              66
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 144
                                     Document  68               Date
                                                                Filed Filed: 02/18/2025
                                                                      02/13/25             Entry
                                                                                   Page 31 of 31 ID: 6701022




       the defendants face no cognizable harm from a preliminary injunction, and the public interest is

       served by preventing the implementation of a facially unconstitutional policy.

              Accordingly, the plaintiffs’ motions (Doe, Doc. No. 10, and New Jersey, Doc. No. 3) are

       ALLOWED as described herein. Separate orders will issue in each case memorializing the

       preliminary injunctions entered by the Court.

                                                            SO ORDERED.


                                                             /s/ Leo T. Sorokin
                                                            United States District Judge




                                                       31


                                                                                                          67
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 69
                                                145 Date
                                                     FiledFiled: 02/18/2025
                                                           02/13/25            Entry
                                                                        Page 1 of 2 ID: 6701022




                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS

                                                      )
       STATE OF NEW JERSEY et al.,                    )
                                                      )
              Plaintiffs,                             )
                                                      )
       v.                                             )       Civil No. 25-10139-LTS
                                                      )
       DONALD J. TRUMP et al.,                        )
                                                      )
              Defendants.                             )
                                                      )

                                         PRELIMINARY INJUNCTION

                                                February 13, 2025

       SOROKIN, J.

              For the reasons set forth in the Memorandum of Decision issued today, Doc. No. 144, the

       plaintiffs’ motion for preliminary injunction (Doc. No. 3) is ALLOWED. As explained in the

       Memorandum, the plaintiffs have advanced valid causes of action seeking equitable relief, and

       they have standing to pursue such claims. They also have demonstrated that each factor

       governing their request for preliminary injunctive relief weighs strongly in their favor. The

       plaintiffs are likely to succeed on the merits of their claims under the Citizenship Clause and 8

       U.S.C. § 1401, they are likely to suffer irreparable harm in the absence of relief, the balance of

       harms tips overwhelmingly in their favor, and the public interest favors an injunction.

       Additionally, the record establishes that universal relief is required in order to provide complete

       relief to the eighteen states and two cities that have brought this case.

              Accordingly, pursuant to Federal Rule of Civil Procedure 65(a), this Court ORDERS as

       follows:




                                                                                                             68
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 70
                                                145 Date
                                                     FiledFiled: 02/18/2025
                                                           02/13/25            Entry
                                                                        Page 2 of 2 ID: 6701022




          1. The United States Department of State, the Secretary of State, the United States

             Department of Homeland Security, the Secretary of Homeland Security, the United States

             Department of Health and Human Services, the Acting Secretary of Health and Human

             Services, the United States Social Security Administration, the Acting Commissioner of

             Social Security, and all officers, agents, employees, attorneys, and any other persons

             acting in concert with or behalf of any named defendant in this action (including agents,

             employees, and other representatives of President Donald J. Trump), are ENJOINED

             from implementing and enforcing Executive Order No. 14,160, “Protecting the Meaning

             and Value of American Citizenship.”

          2. No security under Federal Rule of Civil Procedure 65(c) is necessary or warranted in the

             circumstances of this case, where the plaintiffs seek to vindicate an important

             constitutional and federal statutory right, and the injunction will not expose the

             defendants to financial loss. See da Silva Medeiros v. Martin, 458 F. Supp. 3d 122, 130

             (D.R.I. May 1, 2020) (citing Crowley v. Loc. No. 82, 679 F.2d 978, 1000-01 (1st Cir.

             1982)).

          3. This preliminary injunction shall take effect immediately upon the docketing of this

             Order and shall remain in effect until the entry of judgment in this matter, unless this

             Court, the United States Court of Appeals for the First Circuit, or the United States

             Supreme Court order otherwise.

                                                           SO ORDERED.


                                                            /s/ Leo T. Sorokin
                                                           United States District Judge




                                                       2


                                                                                                         69
Case: 25-1158   Document: 00118249234   Page: 71   Date Filed: 02/18/2025   Entry ID: 6701022




                                                                                         70
Case: 25-1158     Document: 00118249234               Page: 72         Date Filed: 02/18/2025           Entry ID: 6701022




                                                  United States District Court

                                                    District of Massachusetts

        Notice of Electronic Filing


        The following transaction was entered on 2/13/2025 at 3:13 PM EST and filed on 2/13/2025

        Case Name:       State of New Jersey et al v. Trump et al
        Case Number:     1:25−cv−10139−LTS
        Filer:
        Document Number: 146(No document attached)
        Docket Text:
        District Judge Leo T. Sorokin: ELECTRONIC ORDER entered.

        The letter request filed pro se by Rubin Young (Doc. No. [131]) seeking permission to file an amicus brief
        (Doc. No. [132]) is DENIED. Acceptance of an amicus brief is a matter of discretion, and these submissions
        do not establish that Mr. Young "has a special interest that justifies his having a say" in this case. Strasser v.
        Doorley, 432 F.2d 567, 569 (1st Cir. 1970).

        The "Notice of Branzburg v. Hayes Motion" filed pro se by Mark Marvin (Doc. No. [140]) is DENIED to the
        extent it seeks dismissal of this action. Mr. Marvin is neither a party nor an intervenor and has not otherwise
        sought and obtained leave to participate in this action.

        The Emergency and Ex Parte Motion to Intervene (Doc. No. [141]) filed pro se by Melvin Jones Jr. is
        DENIED. Even construed liberally, the submission fails to satisfy the movant's burden to establish entitlement
        to intervention pursuant to Fed. R. Civ. P. 24(a)−(b).

        The Court directs the Clerk not to place any future filing by Mr. Young, Mr. Marvin, or Mr. Jones on the
        docket for this case unless the filing is a motion for reconsideration or a notice of appeal of this order.

        (FGD)


        1:25−cv−10139−LTS Notice has been electronically mailed to:

        George W. Vien      gwv@dcglaw.com, jck@dcglaw.com, jdl@dcglaw.com, lam@dcglaw.com

        Frank L. McNamara, Jr       franklmcnamara@gmail.com

        Jonathan Benjamin Miller      jon@publicrightsproject.org

        Andrew C. Coulam       andrew.coulam@ag.tn.gov

        Katherine Connolly Sadeck       ksadeck@riag.ri.gov, kragosta@riag.ri.gov

        Jared B. Cohen     jared.b.cohen@mass.gov



                                                                                                                             71
Case: 25-1158    Document: 00118249234                 Page: 73     Date Filed: 02/18/2025          Entry ID: 6701022


        William M. Tong        ag.court.tong@ct.gov

        Ryan P. McLane       ryan@mclanelaw.com, 3494083420@filings.docketbird.com, alexa@mclanelaw.com

        Sean D. Magenis       sean.d.magenis@maine.gov, laura.solisfarias@maine.gov

        Adam Kirschner       akirschner@oag.state.md.us

        Christopher J. Hajec     chajec@irli.org

        Gerard J. Cedrone      gerard.cedrone@mass.gov

        Pietro A. Conte     pac@dcglaw.com

        Nathaniel M. Lindzen       nlindzen@corpfraudlaw.com

        Stacey M. Metro      stacey.metro@ag.ny.gov

        Matthew James O'Brien        mobrien@irli.org, mattcrapo@recap.email, mcrapo@irli.org

        Brad P. Rosenberg brad.rosenberg@usdoj.gov, FedProg.ECF@usdoj.gov, bilqees.stover@usdoj.gov,
        matthew.l.carney@usdoj.gov

        Viviana Maria Hanley       viviana.hanley@njoag.gov

        Nicole Suzanne Hill      nicole.hill@dc.gov, Chloe.Pan@dc.gov, Jeremy.Girton@dc.gov

        David Scott Louk       david.louk@sfcityatty.org, christine.hoang@sfcityatty.org, cmplxafflit@recap.email

        Molly J. Alarcon     molly.alarcon@sfcityatty.org, christine.hoang@sfcityatty.org, cmplxafflit@recap.email

        James Grayson       jgrayson@nmag.gov

        Zoe Levine     zoe.levine@ag.ny.gov

        Daniel Paul Mosteller      dmosteller@ncdoj.gov

        Shannon Wells Stevenson        shannon.stevenson@coag.gov, alex.miller@coag.gov

        Delbert Tran      delbert.tran@doj.ca.gov

        Lorraine Lopez      lorraine.lopez@doj.ca.gov

        Annabelle Cathryn Wilmott       annabelle.wilmott@doj.ca.gov

        Marissa Malouff      marissa.malouff@doj.ca.gov

        Denise Yesenia Levey       denise.levey@doj.ca.gov

        Irina Trasovan     irina.trasovan@doj.ca.gov

        Kalikoonalani Diara Fernandes       kaliko.d.fernandes@hawaii.gov, derek.r.matsumoto@hawaii.gov,


                                                                                                                     72
Case: 25-1158    Document: 00118249234                  Page: 74   Date Filed: 02/18/2025   Entry ID: 6701022


        tammy.d.tam@hawaii.gov

        Leonard Giarrano, IV      lgiarrano@riag.ri.gov, mspooner@riag.ri.gov

        Toni L. Harris harrist19@michigan.gov, JensonM1@michigan.gov, LaneL5@michigan.gov,
        pungl@michigan.gov

        Neil Giovanatti giovanattin@michigan.gov, JensonM1@michigan.gov, LaneL5@michigan.gov,
        SheltonE1@michigan.gov, pungl@michigan.gov

        Stephanie M. Service services3@michigan.gov, JensonM1@michigan.gov, LaneL5@michigan.gov,
        montemayorm@michigan.gov, pungl@michigan.gov

        John C. Keller      john.keller@ag.state.mn.us

        Robert Charles Merritt     robert.c.merritt@usdoj.gov

        Yuri Fuchs      yuri.s.fuchs@usdoj.gov

        Janelle Medeiros      janelle.medeiros@ct.gov

        Elizabeth R. Walsh      elizabeth.walsh@law.njoag.gov

        Shefali Saxena      shefali.saxena@law.njoag.gov

        Shankar Duraiswamy        shankar.duraiswamy@njoag.gov

        Jeremy Feigenbaum        jeremy.feigenbaum@njoag.gov

        Heidi Parry Stern     hstern@ag.nv.gov, rcarreau@ag.nv.gov, sgeyer@ag.nv.gov

        Gabe Johnson−Karp        johnsonkarpg@doj.state.wi.us

        Julio A Thompson       julio.thompson@vermont.gov

        R. Trent McCotter      tmccotter@boydengray.com

        Whitney D. Hermandorfer        whitney.hermandorfer@ag.tn.gov

        James Matthew Rice        matt.rice@ag.tn.gov

        Eric Hamilton      eric.hamilton@usdoj.gov

        1:25−cv−10139−LTS Notice will not be electronically mailed to:

        Leonard W. Houston(Terminated)
        148 Deer Court Drive, Bldg. 4
        Middletown, NY 10940

        Mark Marvin
        135 Mills Road
        Walden, NY 12586


                                                                                                         73
Case: 25-1158   Document: 00118249234   Page: 75   Date Filed: 02/18/2025   Entry ID: 6701022




        Rubin Young
        14060 SW 258th St.
        Homestead, FL 33032




                                                                                         74
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 76
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 1 of 12 ID: 6701022




       NOTICE OF APPEAL
       to the 1st Circuit
       Court of Appeals:



                                                                                             75
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 77
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 2 of 12 ID: 6701022




       appeal of denial of
       Ecf Doc. #41 in civil
       case #25-cv-10139

       …regarding the
       district court order set
       forth in Ecf #146, and

                                                                                             76
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 78
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 3 of 12 ID: 6701022




       Ecf Doc. #145 and Ecf
       Doc. 144# …because
       [we] believe that the
       outcome of the
       GRANTING of the
       Preliminary Injunction
       would have BEEN
       DIFFERENT had our
       emergency and ex
       parte motion to
       intervene been
                                                                                             77
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 79
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 4 of 12 ID: 6701022




       GRANTED [and/ or]
       granted along with
       Ecf Doc # 131, and
       #132 and #140 …taken
       all together (see the
       courts order Ecf Doc.
       # 146)... which is also
       given NOTICE OF
       APPEAL. Here [we]
       believe that as a
       MATTER OF LAW
                                                                                             78
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 80
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 5 of 12 ID: 6701022




       …there is substantial
       prejudicial
       constitutional
       manifest ERROR in
       said District Court
       order[s] and thereby
       DE NOVO REVIEW on
       appeal is required
       here.



                                                                                             79
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 81
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 6 of 12 ID: 6701022




       Also, [we] intend upon
       seeking IFP status in
       the 1st circuit court of
       appeals [and] IF such
       is somehow denied…
       then [we] intend
       somehow to PAY the
       appeal fee.

       Further, it appear that
       the 1st Circuit has an
                                                                                             80
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 82
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 7 of 12 ID: 6701022




       “accommodation
       coordinator”...
       although NOT [of
       course] voluntarily
       complying with the
       ADA…. and so, [we]
       will request ORAL
       argument… and a
       “communication
       disability”
       accommodation for
                                                                                             81
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 83
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 8 of 12 ID: 6701022




       Melvin Jones Jr. [due
       to his history of CVA
       and Stroke] …whereby
       said accommodation
       will be sought from
       the 1st circuit
       accommodations
       specialist AFTER
       docketing of our
       notice of appeal in
       the 1st circuit court of
                                                                                             82
Case: 25-1158Case
                Document:  00118249234Document
                  1:25-cv-10139-LTS      Page: 84
                                               150   Date
                                                     FiledFiled: 02/18/2025
                                                           02/14/25            Entry
                                                                       Page 9 of 12 ID: 6701022




       appeals [e.g.
       transmittal of such by
       the clerks office in the
       US District Court].
       Thank you.
       Best,

       (continued on the
       NEXT page)...



                                                                                             83
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 150
                                     Document  85    Date
                                                     Filed Filed: 02/18/2025
                                                           02/14/25             Entry
                                                                        Page 10 of 12 ID: 6701022




       2-14-2025

       ____________
       Colleen Connors
       Email:
       cmcolleen4@gmail.com



       Date: 2-14-2025


                                                                                               84
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 150
                                     Document  86    Date
                                                     Filed Filed: 02/18/2025
                                                           02/14/25             Entry
                                                                        Page 11 of 12 ID: 6701022




       —------------------------
       Melvin Jones Jr.
       Email:
       jonesjrmel@gmail.com



       Proof of Service:
       The Notice of Docket
       Activity that is

                                                                                               85
Case: 25-1158
            CaseDocument:  00118249234
                 1:25-cv-10139-LTS       Page: 150
                                     Document  87    Date
                                                     Filed Filed: 02/18/2025
                                                           02/14/25             Entry
                                                                        Page 12 of 12 ID: 6701022




       generated by the
       court's electronic
       filing system
       constitutes service on
       all ECF filers. 1st Cir. R.
       25.0(e).




                                                                                               86
